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14                                FOR THE DISTRICT OF NEVADA
15
      Cung Le, Nathan Quarry, and Jon Fitch, Brandon          Case No.: 2:15-cv-01045-RFB-(PAL)
16    Vera, Luis Javier Vazquez, and Kyle Kingsbury,
      on behalf of themselves and all others similarly        PLAINTIFFS’ CONSOLIDATED BRIEF IN
17    situated,                                               OPPOSITION TO DEFENDANT ZUFFA,
18                          Plaintiffs,                       LLC’S MOTION TO EXCLUDE THE
                                                              TESTIMONY OF DRS. HAL SINGER AND
19           v.                                               ANDREW ZIMBALIST (ECF NOS. 522, 524)
20    Zuffa, LLC, d/b/a Ultimate Fighting                     HEARING REQUESTED
      Championship and UFC,
21
                            Defendant.
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28     141 F. Supp. 3d 1246 (S.D. Fla. 2015) .................................................................................................40
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13     No. 00-cv-3476, 2005 WL 1323127 (C.D. Cal. Feb. 22, 2005)...........................................................61
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20      295 F.3d 408 (3d Cir. 2002) .................................................................................................................22

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25     546 F.3d 991 (9th Cir. 2008) ..........................................................................................................13, 14

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 5     676 F.2d 1291 (9th Cir. 1982) ..............................................................................................7, 13, 28, 41

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 1                                    GLOSSARY OF ABBREVIATIONS
 2          For the convenience of the Court and eﬃciency, Plaintiﬀs’ Consolidated Brief in Opposition to

 3   Zuﬀa, LLC’s Motion to Exclude the Testimony of Drs. Hal Singer and Andrew Zimbalist (ECF Nos.

 4   522, 524) uses the following abbreviations for citations to the parties’ ﬁlings and expert reports:

 5    Declaration of Eric L. Cramer, Esq. (February 16, 2018)                CD         ECF No. 518-1
      Declaration of Eric L. Cramer, Esq. (April 6, 2018)                    CD2        Filed
 6                                                                                      contemporaneously
 7    Plaintiﬀs’ Motion for Class Certiﬁcation (February 16, 2018)           Class Mot. ECF No. 518
      Zuﬀa, LLC’s Motion to Exclude the Testimony of Dr. Hal Singer          SD         ECF No. 524
 8    Under Fed. R. Evid. 702 and Daubert (February 16, 2018)
      Zuﬀa, LLC’s Motion to Exclude the Testimony of Dr. Andrew              ZD             ECF No. 522
 9    Zimbalist Under Fed. R. Evid. 702 and Daubert (February 16,
10    2018)
      Expert Report of Hal J. Singer, Ph.D. (August 31, 2017)                SR1            ECF No. 518-3
11    Rebuttal Expert Report of Hal J. Singer, Ph.D. (January 12, 2018)      SR2            ECF No. 518-4
      Supplemental Expert Report of Hal J. Singer, Ph.D. (April 3,           SR3            CD2, Exhibit 49
12    2018)
13    Expert Report of Andrew Zimbalist in Cung Le, et al. v. Zuﬀa,          ZR1            ECF No. 518-5
      LLC (August 30, 2017)
14    Expert Rebuttal Report of Andrew Zimbalist (December 26,               ZR2            ECF No. 518-6
      2017)
15    Expert Rebuttal Report of Professor Alan Manning (January 12,          MR1            ECF No. 518-7
      2018)
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      Expert Report of Professor Robert H. Topel (October 27, 2017)          TR1            ECF Nos. 528,
17                                                                                          524-5
      Expert Report of Paul Oyer (October 27, 2017)                          OR1            ECF No. 524-10
18    Expert Report of Roger D. Blair (November 15, 2017)                    BR1            ECF No. 522-10
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 1           ROADMAP TO PLAINTIFFS’ RESPONSES TO DEFENDANT’S ARGUMENTS
 2          For the convenience of the Court and eﬃciency, Plaintiﬀs provide the following table to cross

 3   reference Defendant’s arguments as set out by section in each brief with corresponding responses by

 4   Plaintiﬀs herein, with the caveat that because many points overlap, multiple sections of Plaintiﬀs’ brief

 5   may address certain of Defendant’s arguments.

 6    Defendant’s Argument Sections                    Plaintiﬀs’ Responsive Sections
      SD I.A.1                                         Daubert Opp. V.A.1-3
 7

 8    SD I.A.2                                         Daubert Opp. V.A.4
      SD I.B                                           Daubert Opp. V.B
 9    SD I.C                                           Daubert Opp. V.C
      SD II.A.1                                        Daubert Opp. V.D.1
10    SD II.A.2                                        Daubert Opp. V.D.2
11    SD II.B                                          Daubert Opp. V.E
      SD II.C                                          Daubert Opp. V.F
12    SD III.A                                         Daubert Opp. V.G.4.a
      SD III.B                                         Daubert Opp. V.G.4.a
13    SD III.C                                         Daubert Opp. V.G.4.b
14    SD IV                                            Daubert Opp. V.G.5
      SD V.A                                           Daubert Opp. V.G.2
15    SD V.B                                           Daubert Opp. V.G.2
      SD V.C                                           Daubert Opp. V.G.2
16
      ZD I.A                                           Daubert Opp. VI.A-B
17    ZD I.B                                           Daubert Opp. VI.B-C
      ZD I.C                                           Daubert Opp. VI.B
18    ZD I.D                                           Daubert Opp. VI.B-C
      ZD I.E                                           Daubert Opp. VI.D
19
      ZD I.F                                           Daubert Opp. VI.E
20    ZD II                                            Daubert Opp. VI
      ZD III                                           Daubert Opp. VI.F
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 1         I.      INTRODUCTION AND SUMMARY OF ARGUMENT
 2              Plaintiffs have proffered testimony from three highly respected economic experts: Drs. Alan

 3   Manning, Hal Singer, and Andrew Zimbalist. Zuffa concedes their qualifications, as well as the

 4   admissibility of Dr. Manning’s testimony. Zuffa also concedes the admissibility of Dr. Zimbalist’s

 5   opinions on anticompetitive effects and the absence of procompetitive justifications, challenging only

 6   his calculation of damages. Zuffa separately challenges several of Dr. Singer’s opinions. None of

 7   Zuffa’s attacks on Drs. Singer or Zimbalist has any merit. They are largely based on inadmissible

 8   attorney speculation and, at most, speak to persuasiveness, not admissibility.

 9              The closest Zuffa comes to an appropriate Daubert issue involves a dispute about how to assess

10   whether Zuffa’s scheme (the “Scheme”) 1 suppressed compensation to its fighters (“Fighters”).

11   Plaintiffs’ experts use wage share (“Wage Share”), measuring compensation as a percentage of revenue.

12   Zuffa’s three economists, in contrast, insist that the only acceptable approach is to use wage level,

13   measuring compensation in dollars. If Zuffa were right on this issue, its Daubert motions might have

14   been plausible.

15              On the other hand, if Zuffa is wrong, then Plaintiffs’ economic expert testimony is sound and,

16   indeed, devastating to Zuffa. After all, Zuffa has paid its Fighters              or less of its revenues

17   from MMA events (“Event Revenues”). In contrast,

18

19                                                                          . Moreover, Dr. Singer performs

20   regression analyses to assess the effects of Zuffa’s long-term, exclusive Fighter contracts that have

21   restricted Fighter mobility and blocked potential competitors from access to a key input—a deep pool

22   of top-quality athletes. His “impact regressions” show that as the portion of the market subject to

23   Zuffa’s contracts (its “Foreclosure Share”) went up, the Fighter Wage Share fell, impacting all or nearly

24   all Class members by suppressing their compensation. The impact regressions establish that: (1) Zuffa

25   had the market power to foreclose competition and impose anticompetitive effects; (2) its illegal

26   Scheme did substantially foreclose competition and cause anticompetitive effects; (3) the Scheme

27

28   1
         See Class Mot. at 1, 8-11 (describing the elements of the Scheme).
                                                            1                       Case No.: 2:15-cv-01045-RFB-(PAL)
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 1   caused antitrust injury to all or nearly all Class members; and (4) damages are quantifiable on a

 2   classwide basis. Those showings strongly support the elements of Plaintiffs’ claim on the merits and

 3   class certification. See Class Mot. at 21-30.

 4          What is most striking about Zuffa’s Daubert motions is that Zuffa largely abandons its original

 5   position on Wage Share. And for good reason. Zuffa’s economists had all taken a categorical stance

 6   against Wage Share, with Dr. Paul Oyer’s report dedicated to a single point: use of Wage Share is never

 7   appropriate. OR1 ¶5. Central to his opinion was his reliance on a scholarly book: ALAN MANNING,

 8   MONOPSONY IN MOTION: IMPERFECT COMPETITION IN LABOR MARKETS (2003). 2 Dr. Oyer proclaimed

 9   that Dr. Manning is “a recognized expert and leader . . . in analysis of monopsony in labor markets”

10   who is “particularly authoritative.” 3 Dr. Oyer observed that Dr. Manning did not discuss Wage Share in

11   MONOPSONY IN MOTION and opined that must mean that Dr. Manning rejects it. See OR1 ¶¶22-27.

12          But Zuffa’s original position on Wage Share has unraveled. When confronted with publication

13   after publication assessing compensation to professional athletes in terms of Wage Share, Dr. Oyer

14   admitted: he had never read them, CD2, Ex. 55 (Oyer Dep.) at 102:22-119:4; his report did not

15   acknowledge them, id.; they in fact used Wage Share, id.; and he knew of no publication anywhere

16   rejecting Wage Share. Id. at 123:7-124:9. Further, Plaintiffs obtained a rebuttal report from Dr.

17   Manning himself explaining that use of Wage Share is appropriate in this case. MR1 ¶¶5-31. In

18   particular, Dr. Manning notes that professional athletes—unlike many other workers—are often

19   responsible for a percentage of the revenues generated at athletic events. Fans pay to see particular

20   Fighters compete, whereas people generally do not, for example, buy Microsoft Word because of the

21   identity of any of the engineers who worked on it. So whereas Wage Share may not be appropriate for

22   analyzing the effects of monopsony power on some workers, assessing the relative competitiveness of

23   MMA Fighter compensation, like that of many other professional athletes, is best done using Wage

24   Share. Id. As a result, Zuffa cannot show—as it must under Daubert—that using Wage Share is junk

25

26   2
       See OR1 ¶¶22-26.
     3
27     CD2, Ex. 55 (Oyer Dep.) at 123:4-6; see also id. at 122:17-21 (admitting “Alan Manning is a
     recognized expert and leader in the thinking of monopsony—analysis of monopsony in labor
28   markets”).
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 1   economics. Indeed, Zuffa now concedes that “wage share is often referenced, particularly in ‘sports

 2   economics,’” and that use of Wage Share is proper when economists “attempt to analyze the impact of

 3   an observed change in monopsony power,” just as Plaintiffs’ experts do here. SD at 2, 15. So Zuffa is

 4   limited to a scattershot of much narrower—though similarly improper—arguments. As Plaintiffs show

 5   below, none has merit.

 6      II.      DRS. SINGER AND ZIMBALIST HAVE EXCELLENT CREDENTIALS
 7            Dr. Hal Singer. Zuffa peppers its brief with ad hominem attacks on Dr. Singer, grossly
 8   distorting his background and record. He has M.A. and Ph.D. degrees in economics from Johns

 9   Hopkins University, is a senior fellow at the George Washington University’s Institute for Public

10   Policy, and serves an adjunct professor at Georgetown’s McDonough School of Business. SR1 ¶¶8, 13.

11   His economic scholarship and testimony have been widely cited by courts and regulatory agencies,

12   including the FTC, the FCC, and the DOJ. Id. ¶11. Dr. Singer’s expertise spans several industries,

13   including sports. Id. ¶12. He has served as an expert for several cable sports networks before the FCC,

14   and for the Baltimore Orioles in their revenue dispute with the Washington Nationals, arbitrated by

15   Major League Baseball. Id.

16            Courts have widely cited Dr. Singer in antitrust matters. Since 2008 six separate district courts

17   have relied on his economic analyses in certifying classes in antitrust cases. See In re Lidoderm

18   Antitrust Litig., 2017 WL 679367, at *21, 23 (N.D. Cal. Feb. 21, 2017) (“A rigorous review of Singer’s

19   . . . opinions and their reasoning, as required under recent Supreme Court precedent, establishes that the

20   concepts and designs of their models are solid.”); In re Delta/AirTran Baggage Fee Antitrust Litig., 317

21   F.R.D. 675, 689 (N.D. Ga. 2016) (finding Dr. Singer “well-qualified,” and concluding: “After extensive

22   review of the balance of Singer’s [damages] opinions, . . . the Court concludes they are admissible

23   because Singer’s methods are reliable and his opinions are relevant and likely to assist the trier of

24   fact”); Johnson v. Ariz. Hosp. and Healthcare Ass’n, 2009 WL 5031334, at *10-11 (D. Ariz. July 14,

25   2009) (“the results [of Dr. Singer’s regression analysis] are persuasive and seem to show a clear

26   depression of wages”); Se. Missouri Hosp. v. C.R. Bard, Inc., 2008 WL 4372741, at *6-8 (E.D. Mo.

27   Sept. 22, 2008) (plaintiffs “will be able to use the formulaic approach advanced by Dr. Singer to

28
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 1   calculate damages”); Natchitoches Parish Hosp. Serv. Dist. v. Tyco Intern., Ltd., 262 F.R.D. 58, 70 (D.

 2   Mass. Aug. 29, 2008) (Dr. Singer “posited a viable theory” that was “based on standard antitrust

 3   methodology”); Meijer, Inc. v. Abbott Laboratories, Inc., 2008 WL 4065839, at *9-10 (N.D. Cal. Aug.

 4   27, 2008) (“Dr. Singer’s conclusion . . . is eminently plausible.”). Courts have widely admitted and

 5   relied on his opinions relating to market power and relevant market, 4 anticompetitive conduct and

 6   effects, 5 and antitrust impact and damages. 6

 7          Notwithstanding Zuffa’s claims to the contrary, SD at 3, 18, n.10, 21, 22, 26, 27, 32, 36, 38, just

 8   two courts have excluded only small portions of his opinions: Cephalon, SD at 22, 7 and Kamakahi v.

 9   Am. Soc. For Reproductive Med., 305 F.R.D. 164 (N.D. Cal. 2015), SD at 38. 8 In every other case

10   Zuffa cites, Dr. Singer’s testimony was admitted in full. 9 Dozens of courts have relied on his testimony.

11
     4
12     Apotex, Inc. v. Cephalon, Inc., 321 F.R.D. 220, 232-34 (E.D. Pa. 2017); Lidoderm, 2017 WL 679367,
     at *28; In re Baggage Fee, 317 F.R.D. at 689; Safeway Inc. v. Abbott Laboratories, Inc., 761 F. Supp.
13   2d 874, 888-89 (N.D. Cal. 2011).
     5
       In re Delta/Airtran Baggage Fee Antitrust Litig., 245 F. Supp. 3d 1343, 1359-60 (N.D. Ga. 2017);
14   Authenticom, Inc. v. CDK Global, LLC, 2017 WL 3017048, at *6 (W.D. Wisc. July 14, 2017); Safeway,
     761 F. Supp. 2d at 891; King Drug Co. of Florence, Inc. v. Cephalon, Inc. (“Cephalon”), 2015 WL
15   12645766, at *5 (E.D. Pa. Dec. 22, 2015); Memdata, LLC v. Intermountain Healthcare, Inc., 2010 WL
16   1779956, at *3, 5 (D. Utah Apr. 29, 2010).
     6
       Lidoderm, 2017 WL 679367, at *19; Apotex, 321 F.R.D. at 227; Omni Healthcare Inc. v. Health First,
17   Inc., 2016 WL 4272164, at *9, 30 (M.D. Fla. Aug. 13, 2016); Johnson, 2009 WL 5031334, at *11; Se.
     Missouri Hosp., 2008 WL 4372741, at *6-8; Natchitoches Parish Hosp. Serv. Dist., 262 F.R.D. at 69-
18   70; Meijer, 2008 WL 4065839, at *9-10.
     7
19     See also Apotex, SD at 21, which is a later decision in the same case. In Cephalon, out of hundreds of
     pages Dr. Singer submitted, the court excluded a minor snippet of testimony setting out “Defendants’
20   knowledge, intent, or state of mind,” and one paragraph setting out the legal standard. Cephalon, 2015
     WL 12645766, at *5-6. A later opinion excluded two minor, alternative damages analyses, which did
21   not flow from his model, but instead were “prepared at the request of counsel.” Apotex, 321 F.R.D. at
     227, 235. The court admitted the vast majority of Dr. Singer’s testimony and modeling. Id. at 232-34.
22   8
       In Kamakahi, the court did not admit Dr. Singer’s damages model solely because the limited data he
23   had available were insufficient to extrapolate to the class. 305 F.R.D. at 179, 181.
     9
       See In re Cox Enterprises, Inc. Set-Top Cable Television Box Antirust Litig., 2011 WL 6826813 (W.D.
24   Okla. Dec. 28, 2011), SD at 3, 27 (nothing excluded; court unpersuaded regarding common impact
     because of regional variation); In re Fla. Cement & Concrete Antitrust Litig., 278 F.R.D. 674 (S.D. Fla.
25   2012), SD at 22 (nothing excluded; court disagreed with Dr. Singer’s “pass through” analysis in
     indirect purchaser case); In re Photochromic Lens Antitrust Litig., 2014 WL 1338605 (M.D. Fla. Apr. 3,
26
     2014), SD at 18, n.10 (nothing excluded; court unpersuaded because of data deficiencies); Jarrett v.
27   Insight Commc’ns Co., L.P., 2014 WL 3735193 (W.D. Ky. Jul. 29, 2014), SD at 36 (nothing excluded;
     court disagreed at summary judgment with sufficiency of evidentiary basis for opinion); Mazda v.
28
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 1   See, e.g., SR1, Appx. 1 at pp. 191-94 (listing 36 cases just since 2012).

 2          Dr. Andrew Zimbalist. Dr. Zimbalist is one of the nation’s leading sports economists. He is
 3   chair of the Economics Department at Smith College. ZR1 ¶9. He has studied and consulted

 4   extensively within the intercollegiate and professional sports industry for leagues, teams, players’

 5   associations, governments, citizen groups, and athletes for over twenty-five years. Id. He has published

 6   twenty-six books and dozens of articles, including on sports economics. ZR1, Appx. A. He is a co-

 7   founder and serves on the editorial board of the Journal of Sports Economics. ZR1 ¶9. He recently

 8   received the Henry Chadwick award from the Society for American Baseball Research meant to honor

 9   “baseball’s great researchers.” 10 Even Zuffa’s economist, Dr. Blair, recently sought Dr. Zimbalist’s

10   expertise on revenue sharing in major league sports. See CD2, Ex. 83 (Mar. 2, 2018 email from Roger

11   D. Blair to Andrew Zimbalist).

12          Numerous courts have admitted Dr. Zimbalist’s testimony on economic matters, including

13   computation of damages. E.g., Jordan v. Dominick’s Finer Foods, 115 F. Supp. 3d 950, 963 (N.D. Ill.

14   2015) (denying motion to exclude damages testimony; finding it “reliable”); City of Seattle v. Prof’l

15   Basketball Club LLC, 2:07-cv-1620, ECF No. 117 (W.D. Wash. Jun. 17, 2008) (admitting testimony on

16   valuation of professional basketball team); Hamilton Cnty. Bd. of Commissioners v. Nat’l Football

17   League, 1:03-cv-355, ECF No. 145 (S.D. Ohio. May 25, 2005) (admitting liability testimony);

18   Deutscher Tennis Bund v. ATP Tour Inc., 2003 WL 25832906, at *1 (D. Del. Sept. 26, 2003) (admitting

19   testimony on relevant market and market share in antitrust case involving professional tennis); Rogers

20   v. United States, 281 F.3d 1108, 1130 n.16 (10th Cir. 2002) (affirming district court’s admission of Dr.

21   Zimbalist’s testimony). 11 Zuffa points to only one case in which a court excluded his testimony.

22

23   Carfax, Inc., 2016 WL 7231941 (S.D.N.Y. Dec. 9, 2016), SD at 3, 22 (nothing excluded; court
     disagreed at summary judgment with evidentiary basis for one of his four opinions).
24   10
        See CD2, Ex. 81 (Dusty Christensen, One of ‘baseball’s great researchers’: Smith professor fields
     lifetime achievement award, DAILY HAMPSHIRE GAZETTE (Mar. 8, 2018),
25   http://www.gazettenet.com/smith-college-economist-wins-baseball-research-award-16052832).
     11
26      See also Fraser v. Major League Soccer, 1:97-cv-10342, ECF No. 435-6 (D. Mass. Nov. 13-14,
     2000) (admitting testimony in monopsony case); Rogers v. United States, No. 2:97-cv-2666, ECF No.
27   131 (D. Kan. May 21, 1999) (admitting testimony regarding valuation of major league baseball team);
     St. Louis Convention v. Nat’l Football League, 4:95-cv-2443, ECF No. 225 (E.D. Miss. Oct. 30, 1997)
28
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 1   Kentucky Speedway, LLC v. National Association of Stock Car Auto Racing, Inc., 588 F.3d 908, 916

 2   (6th Cir. 2009). ZD at 2, 8. In Kentucky Speedway, Dr. Zimbalist testified primarily on market

 3   definition, an issue he does not address here. 588 F.3d at 919.

 4      III.      SUMMARY OF THE OPINIONS OF DRS. SINGER AND ZIMBALIST
 5             Drs. Singer and Zimbalist offer opinions supporting the elements of Plaintiffs’ claim and class

 6   certification. Plaintiffs’ case is based on Zuffa’s Scheme to suppress Fighter pay. Central to the Scheme

 7   are Zuffa’s long-term, exclusive contracts that foreclose other MMA promoters from the market,

 8   restrict MMA Fighter mobility, and deprive Fighters of competition for their services, thereby

 9   suppressing their pay. To prevail under Section 2 of the Sherman Act, Plaintiffs must show:

10             (1) Market Power: Zuffa had substantial market power;

11             (2) Substantial Foreclosure: Zuffa used its Scheme to acquire or maintain its market power by

12             substantially foreclosing competition;

13             (3) Anticompetitive Effects: the Scheme had anticompetitive effects; and

14             (4) Causation of Damage: the Scheme caused damage to Plaintiffs in the form of suppressed

15             compensation. 12

16             Plaintiffs must also rebut any effort Zuffa makes to show the Scheme had procompetitive effects

17   that outweigh its anticompetitive effects. In supporting class certification, Plaintiffs also offer common

18   evidence of the Scheme violating the antitrust laws and causing widespread harm across Class

19   members—common impact—and of the aggregate damages to the proposed classes. Class Mot. at 14-

20   15, 21-30.

21             Market Power: Circumstantial and Direct Evidence (Dr. Singer). Market power—here,
22   particularly monopsony power—is the ability to exclude rivals or suppress compensation below

23

24
     (admitting damages testimony); McNeil v. Nat’l Football League, 4:90-cv-476, ECF No. 334 (D. Minn.
25   Jun. 8, 1992) (admitting declaration on NFL franchise values); In re Dewey Ranch Hockey, LLC, 414
     B.R. 577, 586 (Bankr. D. Ariz. 2009) (Prof. Zimbalist is “a long-time economics professor at Smith
26
     College in Massachusetts [who] has consulted extensively in the area of sports economics, has testified
27   as an expert witness in sports-related litigation and before the U.S. Congress and other governmental
     bodies”).
28   12
        See Class Mot. at i, 1, 8-11 (defining proposed classes and describing the alleged Scheme).
                                                           6                      Case No.: 2:15-cv-01045-RFB-(PAL)
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 1   competitive levels. Dr. Singer establishes monopsony power in two ways. First, he uses direct evidence,

 2   demonstrating that Zuffa did suppress compensation below competitive levels. Rebel Oil Co. Inc. v. Atl.

 3   Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995) (direct evidence showing firm is capable of

 4   exercising market power is sufficient). Second, Dr. Singer offers circumstantial evidence, defining a

 5   relevant market and showing Zuffa controlled a high share of it. A market share of 65% generally

 6   suffices. Image Tech. Servs. v. Eastman Kodak Co., 125 F.3d 1195, 1206 (9th Cir. 1997). Dr. Singer

 7   shows that throughout the Class Period

 8                                     . SR1 ¶129. Either form of evidence of monopsony power (direct or

 9   indirect) is sufficient by itself. Rebel Oil, 51 F.3d at 1434.

10           Given that this case is mainly about the suppression of Fighter compensation, the possession

11   and exercise or maintenance of monopsony power is the focus of Dr. Singer’s analysis. Nevertheless,

12   Dr. Singer also similarly shows that Zuffa had monopoly power, i.e., the power to raise prices to

13   consumers above competitive levels or exclude competition for producing Live MMA Events. SR1

14   ¶¶130-31, 147-48; SR2 at I.A-I.C. Here, too, he used direct and indirect methods of proof. Id.

15           The Scheme Substantially Foreclosed Competition (Dr. Singer). Dr. Singer shows Zuffa
16   imposed

17                                                                    . SR1 ¶¶64-91, 159-62; SR2 ¶¶53, 58, 61-

18   62, 65, 67, 69. Courts have found foreclosure shares of 20 or 30% to be sufficiently substantial. Twin

19   City Sportserv., Inc. v Charles O. Finley & Co., 676 F.2d 1291, 1298 (9th Cir. 1982). Dr. Singer shows

20   Zuffa’s Foreclosure Share—the percentage of the market for the services of MMA Fighters subject to

21   Zuffa’s Exclusive Contracts—

22                                    SR1 ¶¶168, 170, 173 & Figure 3.

23           Anticompetitive Effects (Dr. Singer; Dr. Zimbalist). Dr. Singer’s impact regressions show
24   that as Zuffa’s Foreclosure Share rose, its Fighter Wage Share fell to              of Event Revenues,

25   whereas in a competitive market its Fighter Wage Share would have been                     . SR1 ¶¶186,

26   189-90. That is anticompetitive. Dr. Zimbalist confirms this result by reviewing the histories of the

27   MLB, the NBA, the NFL, the NHL, and boxing, showing they had in the past used similar exclusive

28
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 1   contracts and explaining that, once they eased contract restrictions on mobility and allowed free

 2   agency, athlete pay rose to               of revenues. ZR1 ¶¶25-71; CD, Ex. 10 (Zimbalist Errata) at

 3   Table 4-E. Dr. Singer also shows the Scheme had additional anticompetitive effects, including reduced

 4   output and quality of MMA Events and inflated ticket and Pay-Per-View (“PPV”) prices for MMA

 5   Events to consumers. SR1 at III.D.4-5; SR2 at I.B.

 6            Lack of Procompetitive Benefits (Dr. Singer; Dr. Zimbalist). Dr. Singer finds Zuffa provides
 7   no evidence that the Scheme had any procompetitive effects, such as by allegedly increasing

 8   investment in Fighters or MMA more generally. SR1 at VII; SR2 at V. Dr. Zimbalist confirms Dr.

 9   Singer’s findings, showing that the MLB, the NBA, the NFL, the NHL, and boxing had all once

10   claimed their restrictive athlete contracts were essential to their success when in fact revenue, quality,

11   and output all improved with expanded athlete mobility and free agency. ZR1 ¶¶79-80, 83-84, 89-103;

12   ZR2 ¶¶9, 90, 97, 99-114. Athletes that get paid a competitive wage can devote more time and efforts to

13   their training, health, promotion, and their sport in general. History has proven that higher athlete pay

14   improves a sport dramatically. See, e.g., ZR1 ¶¶79-80, 83-84; SR2 ¶¶ 197-98, 211, 234.

15            Causation, Fact of Damage, and Common Impact (Dr. Singer). Dr. Singer shows that as
16   Zuffa increased the share of the market foreclosed by its exclusive contracts, it decreased its Fighter

17   Wage Share, causing its Fighters to receive less compensation than they would have in a more

18   competitive market. That showing establishes causation and fact of damage. He also uses common

19   evidence in two ways to show that the impact was widespread across Class members, i.e., common

20   impact. 13 First, his regression analyses enable him to compare the compensation each Fighter received

21   to the compensation that Fighter would have received without the Scheme, demonstrating

22                                                             . SR1 ¶¶230-31 & Table 8; CD, Ex. 9 (Singer

23   Errata) at 4; SR2 ¶¶150-52 & Tables 2-3. Second, he uses documentary evidence and econometric

24   analyses to show that Zuffa’s compensation to all of its Fighters was driven largely by common factors,

25   and that pay to Fighters at all levels of the pay scale moved together over the relevant period. These

26   analyses establish that if Zuffa had to raise pay to meet competition in the but-for world, all Fighters

27

28   13
          See Class Mot. at 23-30 (discussion of Dr. Singer’s analysis of common impact).
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 1   would benefit, and thus that the Scheme suppressed the pay of all or nearly all Class members. Class

 2   Mot. at 28.

 3              Aggregate Damages (Dr. Singer; Dr. Zimbalist). Dr. Singer’s impact regressions show that,
 4   absent Zuffa’s Scheme, the Bout Class would have received                                                   ,

 5   SR1 ¶252, and the Identity Class would have received                              . SR1 ¶256. He

 6   confirms damages to the Bout Class by comparing Zuffa’s Fighter Wage Share of                    with the

 7   Wage Share paid by other MMA promoters with less market power: Bellator—                      of total

 8   revenues—and Strikeforce before Zuffa acquired it—                of total revenues. SR1 ¶¶190, 247. Dr.

 9   Zimbalist confirms Dr. Singer’s damages analysis, showing that the MLB, the NBA, the NFL, the

10   NHL, and boxing all pay               of total revenues to athletes. ZR1 ¶¶104-05; CD, Ex. 10 (Zimbalist

11   Errata) at Table 4-E.

12        IV.      THE DAUBERT STANDARD
13              Federal Rule of Evidence 702 allows admission of expert opinions based on “scientific,

14   technical, or other specialized knowledge” if they would “help the trier of fact to understand the

15   evidence or to determine a fact in issue.” Expert opinions are admissible if they are relevant and

16   reliable. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589 (1993). Rule 702 “should be applied

17   with a ‘liberal thrust’ favoring admission.” Messick v. Novartis Pharm. Corp., 747 F.3d 1193, 1196 (9th

18   Cir. 2014); see also In re High-Tech Emp. Antitrust Litig., 2014 U.S. Dist. LEXIS 47181, at *10 (N.D.

19   Cal. Apr. 4, 2014) (same). The inquiry is a “flexible one” where even “shaky but admissible evidence is

20   to be attacked by cross examination, contrary evidence, and attention to the burden of proof, not

21   exclusion.” Primiano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010). The Court’s “gatekeeping function”

22   under Daubert is to exclude only “junk science.” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982

23   (9th Cir. 2011). 14

24

25   14
        Zuffa cites inapposite cases in which scientific experts sought to apply wholly speculative and
     untested methods to demonstrate causation. SD at 6 (citing Domingo ex rel. Domingo v. T.K., 289 F.3d
26
     600, 605-07 (9th Cir. 2002) (experts did not present “objective and verifiable evidence of the validity of
27   [the] theory” nor did they cite any objective source, learned treatise, or published article supporting
     their method); Cooper v. Brown, 510 F.3d 870, 880 (9th Cir. 2007) (no evidence the expert’s method
28
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 1           Daubert’s “focus is on the ‘principles and methodology’ applied, not the conclusions they

 2   generate[.]” U.S. v. Riley, 2014 WL 537013, at *5 (D. Nev. Feb. 7, 2014); see also Virgin Valley Water

 3   Dist. v. Vanguard Piping Sys. (Canada), Inc., 2011 WL 117259, at *2 (D. Nev. Jan. 13, 2011). “When

 4   the methodology is sound, and the evidence relied upon is sufficiently related to the case at hand,

 5   disputes about the degree of relevance or accuracy (above this minimum threshold) may go to the

 6   testimony’s weight, but not its admissibility.” Lidoderm, 2017 WL 679367, at *28.

 7      V.        ZUFFA’s DAUBERT ATTACKS ON DR. SINGER LACK MERIT
 8           A.     Dr. Singer’s Analysis Based on Wage Share Is Proper
 9           There are two key issues in this case. The first involves foreclosure: whether Zuffa’s Scheme of

10   locking up more and more Fighters to long-term, exclusive contracts enhanced its dominance of the

11   market for MMA Fighter Services. The second involves wage suppression: whether Zuffa used that

12   enhanced dominance to pay its Fighters less than it would have in a competitive market. Dr. Singer

13   answers both questions in the affirmative with his rigorous regression model.

14           Dr. Singer’s impact regressions measure the relationship between Wage Share and Foreclosure

15   Share, controlling for hundreds of factors that could affect Fighter compensation. He finds that as

16   Zuffa’s Foreclosure Share went up, its Fighter Wage Share went down. That shows Zuffa’s exclusive

17   contracts enhanced its market power because the ability to pay workers less than competitive

18   compensation is market (monopsony) power. SR1 ¶¶143, 145, 212; SR2 ¶36 & n.118. It also shows

19   Zuffa used its growing monopsony power to pay its Fighters progressively less than it would have in a

20   more competitive market (i.e., the model demonstrates impact). He concludes that in a world absent the

21   Scheme, Zuffa’s Fighter Wage Share would have

22

23
     “can be or has been tested,” was ever subjected to peer review, or discussed in scientific literature);
24   Cabrera v. Cordis Corp., 134 F.3d 1418, 1421-22 (9th Cir. 1998) (expert did not explain any basis for
     “the accuracy of his testing measure, and could not ‘point to some objective source . . . to show that [he
25   has] followed the scientific method, as it is practiced by (at least) a recognized minority of scientists in
     [his] field’”)). Plaintiffs’ experts here apply standard economic methods, and in any event, economics is
26
     not the same as the hard sciences. See, e.g., AREEDA & HOVENKAMP, ANTITRUST LAW: AN ANALYSIS OF
27   ANTITRUST PRINCIPLES AND THEIR APPLICATION, ¶309a (“economics’ criteria for testability, and
     certainly for falsifiability, sometimes fall short of the criteria stated for other sciences”).
28
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 1           as it did during the Class Period. SR1 ¶¶250-51 & Table 11; SR2 ¶¶172, 174.

 2           Remarkably, Zuffa does not dispute much of Dr. Singer’s analysis. It concedes that its Event

 3   Revenues

 4                                                . SR2 (backup materials); SR3 n.6 & Figure A1. 15 It also

 5   concedes that the Fighters                                                     . See infra V.A.4. It

 6   concedes too that as a firm’s monopsony power grows, so does the gap between the amounts it pays its

 7   workers and the revenues the workers generate. 16 And it even concedes that Zuffa’s “

 8                                                                                           .” TR1 ¶27

 9   (emphasis original). What Zuffa contests is less clear and keeps changing.

10               1.     Wage Share Is Widely Used in Assessing Compensation of Athletes.
11           Zuffa’s economists all originally rejected Wage Share as meaningless. 17 That position was

12   indefensible. Numerous academic publications—peer-reviewed articles and standard textbooks—use

13   Wage Share in analyzing compensation to athletes, including to assess the effect of monopsony power

14   on professional athlete compensation. SR2 ¶¶88-107; ZR2 ¶¶45-51. 18 Indeed, Zuffa’s economist, Dr.

15
     15
16      Dr. Singer prepared a Supplemental Expert Report (SR3), dated April 3, 2018, to respond to the
     (unauthorized) Sur-Rebuttal Expert Report of Prof. Robert H. Topel (February 12, 2018).
17   16
        Ex. 56 (Topel Dep. 1) at 46:4-10 (“Q. So if the market’s competitive, the athlete will get paid equal
     to his marginal revenue product; and if there’s monopsony power in the market, the athlete will get paid
18   below [it], correct? A. Yeah. All athletes, not just Zuffa.”).
     17
19      See, e.g., TR1 ¶127 (wage share “is not a measure of anything useful or informative”); OR1 ¶15
     (“Labor economists do not use labor share as a way to evaluate worker compensation or to benchmark
20   competition in competitive labor markets.”); BR1 ¶44 (wage share “has no foundation in economic
     theory”).
21   18
        See, e.g., CD2, Ex. 72 (Gerald W. Scully, Pay and Performance in Major League Baseball, 64(6)
     THE AMERICAN ECONOMIC REVIEW 915 (1974)) at 927-929 & Table 2 (ﬁnding that MLB athlete
22   salaries came to only about 15 to 20 percent of athlete MRP, and concluding that, before free agency (in
23   the late 1960s), monopsonistic exploitation was signiﬁcant in the labor market for professional baseball
     players); CD2, Ex. 73 (Gerald W. Scully, Player Salary Share and the Distribution of Player Earnings,
24   25(2) MANAGERIAL AND DECISION ECONOMICS 77 (2004)) at 78 & Table1 (analyzing wage share to
     assess monopsony power in MLB, NBA, NFL, and NHL and ﬁnding that , for each sport,
25   compensation increased signiﬁcantly as a share of revenue after free agency was introduced); CD2, Ex.
     75 (James Monks, Revenue Shares and Monopolistic Behavior in Intercollegiate Athletics, 2 (Cornell
26
     Higher Education Research Institute Working Paper 155, September 2013), available at
27   https://www.ilr.cornell.edu/sites/ilr.cornell.edu/ﬁles/WP155.pdf)) at 4 (analyzing “the degree to which
     the NCAA’s cap on player renumeration . . . restricts the share of revenue returned directly to the
28
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 1   Topel, in a study commissioned by NFL Players Association, used Wage Share, analyzing “[t]he

 2   percentage of total revenues paid to [NFL] players.” 19 So did Zuffa itself, in a 2013 chart, tracking

 3   “

 4                             . CD2, Ex. 85 (ZFL-1484034-37) at 35. And in June 2016, just before the sale

 5   of the UFC to WME-Endeavor, Zuffa warned “

 6           ,” and observed that

 7              ” CD, Ex. 41 (WME_ZUFFA_0001150) at 11; see also SR2 ¶108. The one scholar both

 8   sides agree is “particularly authoritative,” 20 Dr. Manning, confirms labor economists use Wage Share to

 9   assess the effects of monopsony power on compensation. MR1 ¶¶5-31.

10          Under these circumstances, it is not surprising that Zuffa now concedes use of Wage Share is at

11   times appropriate, such as when economists “attempt to analyze the impact of an observed change in

12   monopsony power.” SD at 15 (emphasis in original). More surprising are the shifting ways Zuffa

13   characterizes the alleged flaws in the way Dr. Singer uses Wage Share.

14              2.      Wage Share Can Be Used to Assess Changes in Monopsony Power and its
                        Existence.
15
            Zuffa claims that the “fundamental difference” between Dr. Singer’s analysis and the extensive
16
     literature he cites is that economists typically use Wage Share “to analyze the impact of an observed
17
     change in monopsony power,” but not to “infer the existence of monopsony power.” SD at 15
18
     (emphasis in original). That argument mischaracterizes Dr. Singer’s analysis. Dr. Singer uses Wage
19
     Share in precisely the way Zuffa says is appropriate: to assess the impact of changes in Zuffa’s
20

21
     players, in comparison to professional athletic leagues in the United States” and explaining that the
22   NCAA “operates as a collusive monopsony in the labor market for athletic (player) talent”) (emphasis
23   added); CD2, Ex. 74 (John Twomey & James Monks, Monopsony and Salary Suppression: The Case of
     Major League Soccer in the United States, 56(1) THE AMERICAN ECONOMIST 20 (2011)) at 1 (using
24   wage share to assess monopsony power in Major League Soccer and noting it devotes “only about 25
     percent of its revenues to player salaries, compared to 50 to 60 percent in most other U.S. professional
25   sports and professional soccer leagues”); see also SR2 ¶98.
     19
26      CD2, Ex. 78 (Kevin Murphy and Robert Topel, “The Economics of NFL Team Ownership,” Chicago
     Partners, (2009)) at 2 (prepared at the request of the NFL Players’ Association).
     20
27      CD2, Ex. 55 (Oyer Dep.) 123:4-6; see also id. 122:17-21 (admitting “Alan Manning is a recognized
     expert and leader in the thinking of monopsony—analysis of monopsony in labor markets”).
28
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 1   monopsony power. He explains: “The impact regressions . . . are designed to test the hypothesis that an

 2   increase in Zuffa’s foreclosure of the Relevant Input Market (or Submarket) allows Zuffa to exercise

 3   more monopsony power, by paying Fighters a smaller share of Event Revenue.” SR2 ¶73. 21 Dr.

 4   Singer’s Foreclosure Share measures changes over time in the share of Fighters that Zuffa has locked

 5   up in long-term exclusive contracts. SR1 at III.C.2. 22 In support, he cites published academic papers

 6   that specifically link growing market dominance to falling Wage Share. SR2 ¶¶103-04, 106-07; see,

 7   e.g., CD2, Ex. 77 (Simcha Barkai, Declining Labor and Capital Shares 25-26 (U. of Chicago, New

 8   Working Paper Series No. 2, 2016) (“Barkai (2016)”)) (“I find that that an increase in [market]

 9   concentration is associated . . . with a decline in the labor share.”) (emphasis added). Moreover, as
10   Dr. Singer observes, multiple published papers focusing on professional sports have used Wage Share

11   as he does, i.e., to model the effects of moving from a labor market with restrictive contracts to a

12   market with free agency. See SR2 ¶¶92-100.

13           The distinction Zuffa draws between assessing the existence of monopsony power and a change

14   in monopsony power is also incoherent. Evidence capable of showing that conduct increases

15   monopsony power necessarily implies—and is thus direct evidence of—the existence of monopsony

16   power. 23 It therefore makes sense that economists—particularly in sports—have inferred the existence

17

18
     21
19      See also SR2 ¶¶3, 68 (impact regressions measure effects of changes in monopsony power).
     22
        The underlying hypothesis that he tests—a change in foreclosure of competition causes a change in
20   market power and thus a change in prices or compensation—is well established. See Steven C. Salop,
     The Raising Rivals’ Cost Foreclosure Paradigm, Conditional Pricing Practices and the Flawed
21   Incremental Price-Cost Test, 81(2) ANTITRUST L.J. 371, 372-373 (2017) (in assessing the effects of an
     exclusive dealing scheme “[t]he proper focus should be placed on the magnitude of the foreclosure and
22   possible consumer harm”); see also Twin City, 676 F.2d at 1304 (magnitude of exclusive contracts
23   places “a significant amount of potential concession business beyond the grasp of any competitors”).
     23
        See SR1 ¶143 (“The ability to suppress compensation below competitive levels constitutes direct
24   evidence of Zuffa’s substantial market power, and in particular, monopsony power.”); see also, e.g., In
     re High-Tech Emp. Antitrust Litig., 856 F. Supp. 2d 1103, 1122 (N.D. Cal. 2012) (allegation that
25   “Defendants succeeded in lowering the compensation and mobility of their employees below what
     would have prevailed in a lawful and properly functioning labor market” is sufficient “to infer that
26
     Defendants had . . . market power”) (citing Theme Promotions, Inc. v. News Am. Mktg. FSI, 546 F.3d
27   991, 1001 (9th Cir. 2008)) (“Evidence of restricted output and supracompetitive prices is direct
     evidence of market power.”) (internal quotation omitted)).
28
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 1   of monopsony power from relatively low Wage Shares in published work. 24 Further, Zuffa’s distinction

 2   relies on lawyer speculation; it is not supported by the opinions of Zuffa’s economists. Attorney

 3   speculation does not constitute evidence. Carrillo-Gonzalez v. INS, 353 F.3d 1077, 1079 (9th Cir. 2003)

 4   (lawyer argument is not evidence). 25

 5               3.     Zuffa’s Claim that Dr. Singer’s Use of Wage Share Is Not “Standard” Is
                        Incorrect and Misses the Point.
 6
             Zuffa appears to concede that Dr. Singer is correct to use regression analyses. But it claims that
 7
     the “standard way” to structure the regression focuses on wage levels—measured in dollars—rather
 8
     than on Wage Share. More technically, Zuffa claims the “dependent variable” in a regression is usually
 9
     wage level, not Wage Share. SD at 13. Zuffa then cites two cases—one involving nurses and the other
10
     high-tech employees—that used wage levels as the dependent variable in regression analyses. Id.
11
             As Plaintiffs’ experts explain, however, professional athletes are not “standard” workers. SR2
12
     ¶120; MR1 ¶24. Revenues from sporting events depend on the talent and notoriety of the athletes, and
13
     thus economists and industry participants recognize the athletes generate a percentage of those
14
     revenues. SR2 ¶¶72, 89-91, 93-102, 108, 111-15, 118, 120; MR1 ¶¶24-28; ZR2 ¶46. That is especially
15
     true for combat sports, such as MMA,
16
                                    ” SR1 ¶20; SR2 ¶108 & n.401; see also infra at V.A.4. Zuffa’s
17
     economists have conceded that Fighters play a substantial role in generating Event Revenues. See, e.g.,
18
     SR2 ¶¶112-114 (citing admissions of Drs. Topel, Blair, and Oyer about the direct connection between
19
     Fighter quality and revenues generated at events). Indeed, regression analyses by Zuffa’s own expert,
20
     Dr. Topel, show
21
              . SR2 ¶114; SR3 ¶¶35-37. 26 Dr. Singer’s impact regressions produce a similar result, albeit with
22

23
     24
        See, e.g., SR2 ¶98 (citing a study by Profs. Twomey and Monks concluding from the disparity of
24   wage shares between Major League Soccer (“only about 25 percent”) and most other U.S. professional
     sports (“50 to 60 percent”) that the former had been effective in exercising monopsony power); id. ¶99
25   (citing a 2013 Study by Prof. Monks concluding from disparity in share of revenues going to athletes
     that the NCAA has monopsony power).
26   25
        See also DuBray Land Servs. v. Schroder Ventures U.S., 488 F. Supp. 2d 1109, 1114 (D. Mont. 2007)
27   (same).
     26
        As Drs. Singer and Manning explain, and as discussed below, Dr. Topel’s regressions are flawed
28
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 1   a far more substantial effect, showing that, under more competitive conditions, Fighter compensation

 2   would have risen at least as fast as Event Revenues. SR2 ¶¶5, 40, 74; SR3 ¶29.

 3          The same is not true for many other workers. People do not usually pick a hospital based on the

 4   identity of a nurse or buy software based on the identity of an engineer, making it difficult to measure

 5   revenues generated by such employees. MR1 ¶24. 27 Nonetheless, in rare cases where there is a

 6   relatively close relationship between the productivity of workers and revenues, use of Wage Share is

 7   appropriate to evaluate the impact of labor restrictions. Thus, even by Zuffa’s own account, where the

 8   traveling nurses in Johnson, 2009 WL 5031334, at *8, were paid a percentage of their billings, the court

 9   certified a class “based on Dr. Singer’s wage share method.” SD at 14. 28 In any case, what is unusual

10   for “standard” workers is “standard” for professional athletes. Whatever form their contracts take, the

11   athletes involved generate a portion of revenues from sporting events and their compensation is best

12   analyzed in Wage Share. 29 That is why economists analyzing monopsony power and professional

13

14                                                                                                            .
     SR2 at II.D; SR3 at I.C; CD2, Ex. 61 (Manning Dep.) at 129:2-23. Indeed, according to Dr. Topel’s
15   model,
16
                  . Dr. Manning testified that this effect is so implausibly small (even while the Scheme was
17   in place) that Dr. Topel “should have had alarm bells going off in his head that there was something
     wrong with it.” Id.
18   27
        This explains why Zuffa’s observation is irrelevant that the experts evaluating wage suppression
     claims used wage levels (not Wage Share) in Reed v. Advocate Health Care, 268 F.R.D. 573, 581-98
19
     (N.D. Ill. 2009) and In re High-Tech Employee Antitrust Litig., 289 F.R.D. 555, 558 (N.D. Cal. 2013).
20   SD at 13. Unlike in this case, there was no reasonable way—and insufficient data available—to ascribe
     a particular portion of hospital revenues to the employee nurses in Reed, or to draw a direct link
21   between the work of tech employees in High-Tech and the revenues of the tech giant defendants in that
     case. See, e.g., SR2 ¶120 (“an increase in the [productivity] . . . of an individual technical employee
22   would have no material effect on Apple’s total corporate revenue. . . . In contrast, the revenue that Zuffa
23   earns at a particular event is not independent of compensation paid to Fighters at that event”)
     (emphasis in original).
24   28
        Similarly, Zuffa’s own expert, Dr. Oyer, admitted sales people are sometimes paid a proportion of
     their sales and, as Dr. Singer explains, their compensation is appropriately assessed using Wage Share.
25   SR2 ¶89 (citing OR1 ¶16 & CD2, Ex. 55 (Oyer Dep.) at 81:25-82:4).
     29
26      Zuffa’s economist, Dr. Oyer, admitted that how a worker is paid—in set dollars or as a percentage of
     revenue—does not determine how to analyze worker compensation. CD2, Ex. 55 (Oyer Dep.) at 91:2-
27   9. Professional athlete compensation is largely set in dollar amounts, not as a percentage of revenue, yet
     economists still use Wage Share for them. For some MMA Fighters, their pay is, in part, set as a
28   percentage of Pay-Per-View revenues. SR1 ¶32.
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 1   athlete compensation routinely use Wage Share. SR2 ¶¶88-102; ZR2 ¶¶45-49. Zuffa does not cite any

 2   authority rejecting use of Wage Share in analyzing pay to professional athletes.

 3           In fact, given the direct connection between MMA Fighters and revenues, use of wage levels—

 4   rather than Wage Share—would be misleading. If Zuffa’s Event Revenues went up significantly, but its

 5   wage levels increased only slightly, that would be a sign that Zuffa had increased the gap between the

 6   amounts it paid its Fighters and competitive compensation; yet using wage levels would mask this

 7   evidence of increasing monopsony power. As Dr. Singer has explained: “A singular focus on

 8   compensation levels alone . . . would miss the real story where athlete compensation is growing at a far

 9   slower rate than the revenues athletes are generating for their respective teams or firms.” SR2 ¶94; see

10   also SR3 at I.C. Dr. Topel himself admitted that focusing on wage levels, instead of Wage Share, could

11   be misleading because merely observing increasing compensation would be insufficient to assess

12   whether Zuffa increasingly exercised monopsony power over time, the crucial issue in this case. SR2

13   ¶39, n.126 (discussing Topel’s admission).

14           Zuffa’s criticism of Wage Share is also not an appropriate argument under Daubert. There is no

15   “widespread acceptance” requirement, nor must an expert use the “standard” method to be admissible.

16   Daubert, 509 U.S. at 583; see also id. at 588–89 (citing Frye v. U.S., 54 App. D.C. 46 (D.C. Cir. 1923))

17   (“Frye made ‘general acceptance’ the exclusive test for admitting expert scientific testimony. That

18   austere standard, absent from, and incompatible with, the Federal Rules of Evidence, should not be

19   applied in federal trials.”); Hopkins v. Dow Corning Corp., 33 F.3d 1116, 1124–25 (9th Cir. 1994)

20   (“according to Daubert and Rule 702, the testimony of these experts need not be based on ‘generally

21   accepted’ methodologies”). 30 Nor does admissibility under Daubert require a finding that Dr. Singer

22

23
     30
        See also Primiano, 598 F.3d at 564 (“Daubert held that Federal Rule of Evidence 702 replaces the
24   old Frye gatekeeping test, ‘general acceptance in the particular field’”); Fed. Trade Comm’n v.
     Amazon.com, Inc., 2016 WL 1221654, at *1 (W.D. Wash. Mar. 29, 2016) (“In Daubert, the Supreme
25   Court rejected the rigid ‘general acceptance’ test for the admissibility of scientific evidence.”); Apple
     iPod iTunes Antitrust Litig., 2014 WL 4809288, at *8 (N.D. Cal. Sept. 26, 2014) (denying exclusion of
26
     expert opinions about econometrics on ground that they were not generally accepted, and stating “[t]he
27   purported lack of peer review or common acceptance of [the expert’s] views does not necessarily
     justify exclusion”).
28
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 1   used the “best” method of analysis. Even if Zuffa were correct that it is best to use wage levels and not

 2   Wage Share—it is not—that still would not render Dr. Singer’s analyses inadmissible. “The standard

 3   for admissibility is reliability, not superiority.” 31

 4           Zuffa also claims that no publication has used Wage Share in precisely the way Drs. Singer and

 5   Manning do. That point too is wrong and irrelevant. Dr. Manning explains that use of Wage Share is

 6   proper when the goal is to compare actual compensation to what it would be in a more competitive

 7   market, when the relevant data are available, and when workers are responsible for an identifiable

 8   proportion of revenues, as MMA Fighters are. MR1 ¶¶6, 24-31. And he concludes that use of Wage

 9   Share is appropriate in this case. Id. ¶31. Zuffa has not moved to exclude those opinions. But it argues

10   that no publication has set forth the conditions for using Wage Share in just the way Dr. Manning does.

11   As Zuffa admits, Dr. Manning’s endorsement of Singer’s method relies on “well-established ideas” in

12   his field, “combining them in a way that is appropriate for this case.” SD at 16-17 (quoting CD2, Ex. 61

13   (Manning Dep.) at 38:12-20). Zuffa denies none of that. The only criticism it levels against his

14   approach is that it is “new;” that is, Zuffa claims the established principles have not been applied in just

15   the way Dr. Manning (or Dr. Singer) applies them. Id. at 11-12, 17. That is not true. The sports-related

16   studies Dr. Singer references that use Wage Share do so based on the same rationale Dr. Manning

17   offers, i.e., because the researchers recognize that (a) their ultimate goal is to determine the degree to

18   which labor market restrictions create monopsony power and suppress worker pay and (b) the athletes

19   are responsible for generating an identifiable portion of revenue. See, e.g., SR2 ¶¶8, 93-102. Zuffa’s

20   argument is also irrelevant. Even if Drs. Manning and Dr. Singer were implementing well-accepted

21   ideas in a new way, their testimony would be admissible. Expert testimony need not apply established

22   principles in just the way they have been applied before. Daubert explicitly rejected such a

23

24

25   31
       Trailer Sales of Kansas City, Inc. v. MAC Trailer Mfg., Inc., 267 F.R.D. 368, 371 (D. Kan. 2010); see
     also United States v. W.R. Grace, 455 F. Supp. 2d 1203, 1206–07 (D. Mont. 2006) (where “methods are
26
     arguably not the best methods for use in the situation . . . [it] goes to the weight [not admissibility] of
27   the evidence and testimony”); Oracle Am., Inc. v. Google Inc., 2012 WL 850705, at *14 (N.D. Cal.
     Mar. 13, 2012) (same).
28
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 1   requirement. See supra, at 16-17. 32

 2           Another of Zuffa’s arguments fails for similar reasons. Zuffa claims “there is no previous case

 3   in the field of economics or a court relying on a regression that shows a relationship between ‘wage

 4   share’ and a regressor (in this case, ‘foreclosure share’) when the same regressions show no relationship

 5   between actual wages and that regressor.” SD at 13. But Zuffa does not identify a single source

 6   rejecting use of Wage Share as the dependent variable in a regression simply because using wage levels

 7   produced a different result. 33 And Zuffa cannot deny that regressions, market foreclosure, and Wage

 8   Share are all well established. It cannot even deny that economists use Wage Share as the dependent

 9   variable in regressions specifically to assess anticompetitive effects from market concentration, for, as

10   Dr. Singer points out, economists have done so in published work. 34 Moreover, as Zuffa itself admits,

11   the court in Johnson, 2009 WL 5031334, certified a class of nurses in a monopsony case “where the

12   expert used the wage share method—and [Dr. Singer] was that expert.” SD at 14 (emphasis in

13   original). 35 Further, the one expert in this case whom all sides agree is authoritative, Dr. Manning,

14   concludes that Dr. Singer uses Wage Share properly in this case. MR1 ¶¶5-31.

15
     32
16      The sole case Zuffa cites, Cabrera, 134 F.3d at 1422, SD at 17, undermines its position. The Ninth
     Circuit there held expert testimony is admissible if an expert can “point to some peer-review articles or
17   research supporting his conclusion” or he can “‘explain precisely how [he] went about reaching [his]
     conclusions and point to some objective source . . . to show that [he has] followed the scientific
18   method, as it is practiced by (at least) a recognized minority of scientists in [his] field.’” Id. (quoting
     Daubert v. Merrell Dow Pharm., 43 F.3d 1311, 1319 (9th Cir. 1995) (modifications in original)). Dr.
19
     Singer does both.
     33
20      In addition, as shown just above, supra at 16, there are good reasons to believe that regressions run
     in this case using wage levels (and not Wage Share) would mask the effects of monopsony power.
21   34
        See SR2 ¶¶104, 107 (citing academic papers using Wage Share as dependent variable in regression
     analyses); CD2, Ex. 60 (Singer Dep. 2) at 489:24-490:4 (“The Autor paper that Dr. Oyer originally
22   cited . . . [uses] labor share as the dependent variable in econometric analysis.”); CD2, Ex. 77 (Barkai
23   (2016)) (“I provide reduced form empirical [regression] evidence … [that] show[s] that those industries
     that experience larger increases in concentration also experience larger declines in the labor share.”).
24   35
        Zuffa says that Wage Share was appropriate in Johnson because the workers (nurses) were
     specifically paid a share of the revenue they generated for hospitals. Id. That is a critical admission. As
25   Dr. Singer points out,
26
                                                                       . SR2 ¶¶72, 74-75, 92-93, 108, 111-15,
27   118-20. Further, that the court certified only one of the two proposed classes had nothing to do with
     Wage Share, but rather with factors Zuffa does not claim are relevant here.
28
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 1               4.     Dr. Singer Has a Sound Empirical Basis for Using Changes in Event Revenues
                        as a Proxy for Changes in Fighter Productivity.
 2
             Plaintiffs’ and Zuffa’s experts agree on many of the key economic concepts that underlie Dr.
 3
     Singer’s regression analyses. The experts define the marginal revenue product of labor (“MRPL,”
 4
     “MRP,” or “marginal product”) as the additional value that a worker creates, holding all else constant.
 5
     SR2 ¶8; ZR2 ¶29; OR1 ¶16; SD at 17. They acknowledge that it is rarely, if ever, possible to measure
 6
     MRP directly, so economists “estimate” and rely on a “proxy” for MRP. OR1 ¶17; see also SR2 ¶8 (“as
 7
     economists recognize, MRP is not directly observable”); ZR2 ¶¶29-34; MR1 ¶14. They agree that in a
 8
     competitive market a firm pays a worker his or her MRP—that is, the additional value the worker
 9
     creates. 36 They agree that monopsonists are able to pay workers less than their MRP. 37 And they
10
     attribute differences in “pay across workers with and without monopsony power” to “the difference in
11
     the ability of a monopsonistic and a competitive firm to withhold some of a worker’s marginal
12
     product.” 38 In contrast to these areas of agreement, Zuffa’s attacks on Dr. Singer’s analysis are limited.
13
             Zuffa’s lawyers—but not its economists—criticize Dr. Singer for not measuring MRP directly.
14
     SD at 17-18. Zuffa declares: “If MRPL is not directly observable, and there is no accepted way to
15
     empirically measure it, there is no way to test whether it equals or even reasonably approximates event
16
     revenue.” SD at 18. But, once again, Zuffa’s argument cites no expert opinions, and so lacks
17
     evidentiary support. Carrillo-Gonzalez, 353 F.3d at 1079. Moreover, if Zuffa were right, the entire
18
     literature on labor economics and monopsony power would be inadmissible, for, as noted above,
19
     Zuffa’s own experts acknowledge direct measurement of MRP is rarely, if ever, possible. OR1 ¶17; see
20
     also SR2 ¶8. The literature, like Dr. Singer, uses proxies for MRP.
21
             Zuffa also claims that Dr. Singer assumes nearly all its Event Revenue is attributable to
22

23

24   36
        SR2 ¶¶8, 92; ZR2 ¶29; OR1 ¶15 (“Labor economists start from the basic principle that, in a
     competitive market, a firm will be willing to pay a worker up to the ‘marginal product’ of that worker’s
25   labor.”); MR1 ¶11 (noting consensus among the experts on this point).
     37
26      OR1 ¶18; SR2 ¶¶36, 38, 92; ZR2 ¶29; CD2, Ex. 56 (Topel Dep. 1) at 46:4-10; CD2, Ex. 58 (Blair
     Dep. 1) at 120:21-121:14.
     38
27      OR1 ¶18; SR2 ¶8 (“The bigger the gap between a Fighter’s MRP and her wage, the more monopsony
     power the firm is exercising.”).
28
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 1   Fighters, and that Zuffa’s “promotional efforts, the quality of its television production, management,

 2   matchmaking decisions, or other drivers of a quality event,” SD at 18, play little role in revenue

 3   creation. See also SD at 17-20. Not so. Nothing about Dr. Singer’s use of Wage Share or his analysis

 4   more generally assumes the relative contributions to Event Revenue generation of the Fighters, on the

 5   one hand, or Zuffa, on the other. SR3 ¶¶5, 17-19. 39 Zuffa is confusing assumptions with findings. Dr.

 6   Singer’s impact regressions find that, without the Scheme, Zuffa’s Fighter Wage Share would be

 7         —not close to 100%, as Zuffa implies. In any case, that Zuffa or its experts disagree with the

 8   output of Dr. Singer’s model is not a basis to exclude it. See Virgin Valley Water Dist., 2011 WL

 9   117259, at *2 (“[a] court should not strike expert testimony under Daubert simply because the parties

10   dispute the expert’s ultimate conclusions”); Ortega v. Nat. Balance Inc., 2014 WL 12560623, at *4

11   (C.D. Cal. Oct. 29, 2014) (citing Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997)) (“The Court, as

12   the gatekeeper, is not determining the conclusions of Mr. England as right or wrong. Rather, the Court’s

13   focus will follow the principles and methods used, not the conclusions generated.”).

14           While Dr. Singer does not find that the Fighters are responsible for all the growth in Zuffa’s

15   Event Revenues, he does in fact show that Fighters are responsible for a measurable proportion of that

16   growth. SR2 ¶¶72, 74, 111-13, 118, 120; SR3 ¶¶5, 17-19, 29. That finding is grounded in economics

17   and the record. As in other professional sports, 40 athletes are the major draw for MMA consumers, and

18

19
     39
20       See, e.g., CD2, Ex. 52 (Singer Dep. 1) at 122:4-11 (“Q. And you were assuming that all of that
     average revenue per event, per fighter was the product of that labor as opposed to some other source? . .
21   . . A. No, I don’t think I’m assuming that.”); CD2, Ex. 60 (Singer Dep. 2) at 428:14-19 (rejecting that
     he is assuming that “the marginal revenue product of the fighters collectively in an event would be
22   equal to all of the event revenue”); id. at 641:16-23 (testifying “what the literature is telling us it’s the
23   identity of the fighters featured has more to do with explaining the demand [for MMA Events] than the
     label of the promoter, but I think that both could have an influence . . . on the demand”); CD2, Ex. 52
24   (Singer Dep. 1) at 120:3-7 (noting “effective marketing and promotion could increase the average
     revenue per event”). See also SR3 ¶¶5, 17-19 (discussing Zuffa’s fallacious argument).
25   40
         Dr. Blair admitted that unique skills and other athlete attributes play an important role in the
     revenues generated by sports organizations because the identity or performance of the individual
26
     workers is “a specific feature of the demand on the part of the fan base or consumers . . . that can
27   influence how many people are willing to buy tickets to watch . . . [a]nd how much they’re willing to
     pay for those tickets.” CD2, Ex. 58 (Blair Dep. 1) at 18:7-14, 20:15-19.
28
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 1   thus are a key driver of Zuffa’s Event Revenue. 41 Indeed, matchups involving popular, highly-ranked,

 2   headlining Fighters sell more PPV buys, event tickets, and so on, than do matchups involving less

 3   prominent Fighters. 42 Even Dr. Topel acknowledged

 4                                                                  . CD2, Ex. 56 (Topel Dep. 1) at 241:4-16

 5   (discussing CD, Ex. 41 (WME-ZUFFA-00001150)).

 6            According to Dr. Manning, where it is possible to ascribe a portion of a firm’s revenues to the

 7   efforts of a particular group of workers, such as revenues generated by sporting events, changes in

 8   Event Revenue will track changes in athlete MRP. MR1 ¶23. In those circumstances, measuring

 9   changes to compensation over time as a share of revenues—as Dr. Singer does here by using Wage

10   Share—is equivalent to measuring changes to worker pay as a share of MRP. As Dr. Manning explains,

11   Fighter MRP “will change with the number of people watching and the amount they pay . . . . If

12
     41
13        SR1 ¶20 (citing record evidence demonstrating
                         ); id. ¶¶156-164 (showing that
14                                                                                         . Dr. Singer also
     cited a study showing that “
15                             .” SR2 ¶108, n.401 (quoting CD2, Ex. 76 (Richard McGowan and John Mahon,
16   Demand for the Ultimate Fighting Championship: An Econometric Analysis of PPV Buy Rates 6(6) J.
     BUS. & ECON. 1032, 1046 (2015))). Zuffa says the study “concludes only that individual athletes are
17   more important than the titles for which they are competing[.]” SD at 18 (emphasis in original). But the
     context of that study—and MMA more generally—is that each promoter has its own “titles,” and thus
18   “title” is being used as a synonym for promoter. How else to explain the study’s conclusion: “The
     results of our study are not good news for the UFC as a company…. The fighter has more drawing
19
     power than the brand”? CD, Ex. 76 (McGowan and Mahon (2015)) at 1046 (emphasis added). Zuffa
20   also references testimony by Carlos Silva, the CEO of an MMA promoter, who agrees that “better
     known fighters in terms of consumer awareness generally attract more viewers,” but testifies that he
21   cannot explain why. SD at 18-19 (quoting C. Silva Dep. 169:2-9). That testimony supports Plaintiffs’
     point: the attributes of Fighters matter to the generation of Event Revenues. Silva’s inability to “explain
22   why” is irrelevant.
     42
23      See SR2 ¶108 (discussing the “
                                       ”); id. ¶¶111-114 (same); id. ¶132 (Zuffa relies heavily on Headliners
24   (top 15 Fighters), and at least one of the Fighters was a Headliner in 158 of 159 events UFC PPV
     events from 2005 to May 2017); id. ¶130
25
                    .
26
             Further, Dr. Singer’s regression model itself shows that Zuffa’s Wage Share was consistent,
27   controlling for Foreclosure Share and other factors, which means that Fighter compensation is
     proportional to Event Revenues. SR3 ¶¶11, 21, 28, 29.
28
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 1   revenue for the fight is twice as large then the MRPL is twice as high and fighter compensation in a

 2   competitive market would be twice as high. So the marginal revenue product will be proportional to the

 3   event revenue.” MR1 ¶¶26-27.

 4           Finally, challenges to any assumptions or findings Dr. Singer makes in building his model

 5   would not be appropriate grounds for exclusion. Lidoderm, 2017 WL 679367, at *18 (such disputes are

 6   “appropriately reserved for the trier of fact (or possibly resolution on summary judgment depending on

 7   what the facts show”); Stecyk v. Bell Helicopter Textron, Inc., 295 F.3d 408, 414 (3d Cir. 2002) (“[T]he

 8   burden of exploring the facts and assumptions underlying the testimony of an expert witness [is] on

 9   opposing counsel during cross-examination.”). 43

10           Relying on pure attorney speculation, Zuffa also claims that Dr. Singer might have omitted from

11   his regressions some unidentified variable that might replace rising Foreclosure Share as an explanation

12   for why Zuffa’s Wage Share fell over the relevant period. SD at 15, 19-20. Zuffa muses that other

13   factors could have caused its Wage Share to fall, such as: (a) if there were “changes in supply or

14   demand that are unrelated to competition for labor,” or (b) “if Zuffa increase[d] its advertising.” SD at

15   19 (emphasis added). Neither Zuffa nor its experts offer any evidence that either of these things even

16   occurred, let alone that either is the reason Wage Share fell. Nevertheless, Dr. Singer controls for both

17

18   43
        See also Altana Pharma AG v. Teva Pharms. USA, Inc., 2013 U.S. Dist. LEXIS 74210, *13-14
     (D.N.J. May 14, 2013) (where an expert’s analysis allegedly “fails to account for essential facts, and in
19
     some instances, is based on faulty premises . . . [it] may be a valid basis upon which a reasonable jury
20   may decide not to credit [the] . . . opinions. It is not, however, a basis upon which to exclude . . .
     testimony”); In re Cathode Ray Tube Antitrust Litigation, 2013 WL 5391159, at *9 (N.D. Cal. Sept. 24,
21   2013) (same); ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, 290 (3d Cir. 2012) (same); Fed. R. Evid.
     702 advisory comm. notes (2000) (“When facts are in dispute, experts sometimes reach different
22   conclusions based on competing versions of the facts. The emphasis in the amendment on ‘sufficient
23   facts or data’ is not intended to authorize a trial court to exclude an expert’s testimony on the ground
     that the court believes one version of the facts and not the other.”).
24            Zuffa cites In re Photochromic Lens Antitrust Litig., 2014 WL 1338605 (M.D. Fla. Apr. 3,
     2014), charging that the court there disagreed with Dr. Singer’s use of certain data in place of the
25   transactional data. SD at 18, n.10. But the Magistrate Judge explained that Dr. Singer “cannot be
     faulted for failing to use transactional data when Defendants acknowledge that the data set was flawed
26
     at the time Dr. Singer was writing his report on class certification,” In re Photochromic Len Antitrust
27   Litig., 2013 WL 8183461, at *9 (M.D. Fla. Mar. 12, 2013), and the corrected data was not produced in
     time to incorporate it. Id.
28
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 1   possibilities in his regression. If Zuffa had massively increased its advertising spend, or if there was

 2   some large unexplained change in demand for MMA services, his regression would have identified

 3   such eventualities and controlled for them. And none of Zuffa’s economists refute that.

 4               Dr. Singer uses several variables that show Zuffa’s attorneys’ speculation is wrong, including,

 5   e.g.: (i)

 6

 7                                                           ;” 44 and (ii)

 8
                                                                                                       45
 9                                                                                                          In fact,

10   Dr. Singer shows that non-Fighter inputs have, if anything,

11                                          , SR3 ¶29, suggesting that Dr. Singer’s model is if anything

12   conservative. So Dr. Singer rules out the possibilities about which Zuffa speculates.

13               Further, and to be clear, to explain the observed drop in Zuffa’s Wage Share, Zuffa’s

14   contributions to Event Revenues would have had to increase faster than the contributions of the

15   Fighters. 46 All things equal, if Zuffa’s and Fighters’ contributions grew at the same rate, absent the

16

17
     44
        SR3 ¶29, n.88 (quoting CD2, Ex. 79 (JEFFREY WOOLDRIDGE, INTRODUCTORY ECONOMETRICS: A
18   MODERN APPROACH 360 (Thompson 4th ed. 2009))); see also SR1 ¶185; id. Table 6. Given that none
     of Zuffa’s economists even suggested that his regression failed to control for the possible contributions
19
     of non-Fighter inputs, Dr. Singer did not explain his reasoning in detail in his rebuttal report. One
20   reason for Dr. Singer’s Supplemental Report (SR3) is to allow him to respond to Zuffa’s lawyers’ new
     argument by explaining the reasoning of his previous work.
21   45
        SR3 ¶30; SR1 ¶185 & Table 6. Further, to test Zuffa’s new theory, Dr. Singer
22                                                                                ” SR3 ¶33.
23

24                                                         ee id.
     46
        Zuffa’s assertion that “if Zuffa succeeds in promoting MMA, its brand and its events, Zuffa’s event
25   revenue would increase and it would attract more athletes,” SD at 15, and Wage Share would fall even
     absent increasing foreclosure, is false. Much if not all of this hypothetical promotional spending would
26
     also increase the revenue-generating power of Zuffa’s Fighters, and thus Fighter MRP would rise with
27   Zuffa inputs, and in a competitive market, Fighters would be paid a proportionate share of that revenue
     growth.
28
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 1   exercise of monopsony power, Wage Share would have remained the same, not fallen. Zuffa has not

 2   even attempted to show its contributions to revenues grew faster than those of the Fighters. 47 And the

 3   record shows the opposite: that, for instance,

 4                                                                   . See supra nn.40-42; see also SR3 ¶29.

 5   Zuffa knew lifting restrictions on Fighter mobility, in the words of Dr. Topel, would create “a transfer

 6   of wealth from Zuffa to the athletes.” CD2, Ex. 56 (Topel Dep. 1) at 76:4-77:3; see also id. at 84:11-18;

 7   TR1 ¶68. That is because Zuffa also knew that Fighters drive revenue growth. And, in a competitive

 8   market, Fighters would get a larger share of those revenues. Zuffa’s Scheme was, in effect, a means of

 9   ensuring that Zuffa, and not the Fighters, would capture the lion’s share of the Event Revenue growth:

10   it was a Scheme designed to suppress Wage Share.

11           In addition, Zuffa’s argument is unsupported by any of its three economists and relies on mere

12   lawyer speculation, not evidence. Carrillo-Gonzalez, 353 F.3d at 1079. And criticisms based on

13   potential omitted variables in a regression generally pertain to its weight, not its admissibility. See

14   Bazemore v. Friday, 478 U.S. 385, 400 (1986) (“Normally, failure to include variables will affect the

15   analysis’ probativeness, not its admissibility.”). 48 That is especially apt here, where Zuffa’s economists

16   have not identified any particular omitted variable, much less shown including such a variable would

17   have changed Dr. Singer’s results. Hemmings v. Tidyman’s, Inc., 285 F.3d 1174, 1188 (9th Cir. 2002)

18   (defendant seeking to exclude expert cannot rely on “unsubstantiated assertion[s] of error[.] Rather, the

19   defendant must produce credible evidence that curing the alleged flaws would also cure the statistical

20   disparity”) (quotation marks and citation omitted). 49 The same flaws undermine Zuffa’s claim that Dr.

21
     47
        Notably, Zuffa fails to cite a single study in sports economics that has attributed a decline in athlete
22   Wage Shares due to some unexplained input by the owner or league that reduced athletes’ contribution
23   to revenues.
     48
        Bernstein v. Virgin Am., Inc., 2016 U.S. Dist. LEXIS 154326, at *15 (N.D. Cal. Nov. 7, 2016)
24   (same); Apple iPod iTunes Antitrust Litig., 2014 WL 4809288, at *6 (same); Edwards v. Nat’l Milk
     Producers Fed’n, 2014 U.S. Dist. LEXIS 130621, at *18-19 (N.D. Cal. Sep. 16, 2014) (same); Butler v.
25   Home Depot, 1997 U.S. Dist. LEXIS 16296, at *22-23 (N.D. Cal. Aug. 28, 1997) (same).
     49
26      See also id. (citation omitted) (“A defendant challenging the validity of a multiple regression analysis
     must make a showing that the factors it contends ought to have been included would weaken the
27   showing. . . made by the analysis.”); In re High-Tech Emp. Antitrust Litig., 985 F. Supp. 2d 1167, 1220-
     21 (N.D. Cal. 2013) (rejecting defendants’ assertions about omitted variables and concluding that such
28
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 1   Singer’s use of Wage Share could possibly mask that Event Revenues increased “for procompetitive

 2   reasons.” SD at 15. Zuffa presents no evidence that its success in promoting MMA, its brand, or its

 3   events increased faster than Fighter productivity or that Dr. Singer’s regressions fail to control for that

 4   possibility. SR3 ¶¶25-27, 29, 33.

 5          Finally, Zuffa may also be arguing that its Foreclosure Share increased for procompetitive

 6   reasons given that it contends that “if Zuffa succeeds [in its promotional efforts] . . . it would attract

 7   more athletes.” SD at 15. That makes no sense. If Zuffa had attracted Fighters through alleged

 8   “procompetitive” means, but had not locked them into exclusionary contracts, then they would not have

 9   contributed to Foreclosure Share. Fighters count as foreclosed in Dr. Singer’s model only if they are

10   subject to long-term exclusive contracts. SR1 ¶¶169-72. It is the growing effect of the increasingly

11   widespread use of those contracts on competition and compensation that the regression measures—and

12   nothing else.

13          B.       Dr. Singer Does Not Assume Market Foreclosure; He Proves It
14          Zuffa incorrectly claims that Dr. Singer assumes market foreclosure rather than proves it. SD at

15   20-22. Dr. Singer measures Foreclosure Share as the percentage of the market covered by Zuffa’s

16   contracts subject to a term of at least 30 months and containing other exclusionary terms. SR1 ¶171. He

17   provides economic evidence supporting this approach to foreclosure in three ways. First, his impact

18   regressions demonstrate that his definition of foreclosure is appropriate. He finds

19

20                                                . SR1 ¶186; SR2 ¶36. That mathematical relationship offers

21   powerful support for his approach.

22          Zuffa offers no alternative explanation as to why its Fighter Wage Share dropped as its

23   Foreclosure Share rose. Zuffa fails to identify a variable that correlates with the percentage of Fighters

24   subject to its Exclusive Contracts and that explains variations in its Fighter Wage Share. Further, even if

25
     criticism did not undermine plaintiffs’ expert’s analysis, in part, because “[d]efendants have not
26
     identif[ied] a single omitted variable, or show[n] how adding one would change the results”); In re Egg
27   Products Antitrust Litig., 81 F. Supp. 3d 412, 431-32, 435 (E.D. Pa. 2015) (rejecting challenge to
     potentially relevant explanatory variable in regression where defense expert did not provide data
28   showing how other factors could have been controlled for).
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 1   Zuffa did offer such a variable, its challenge would go to the weight of Dr. Singer’s expert opinion, not

 2   its admissibility, particularly because Zuffa does not show, as it must, that introducing an omitted

 3   variable would change the results of Dr. Singer’s analysis. See supra V.A.4 (discussing Bazemore,

 4   High-Tech, and other cases). The only potential variable Zuffa discusses is a “choice of law” clause, SD

 5   at 20, but Zuffa does not even suggest a “choice of law” clause could foreclose competition and thereby

 6   suppress Wage Share. In contrast, there is a long tradition in economic theory and antitrust

 7   jurisprudence recognizing exclusive contracts (a) can hamper competition and thereby affect prices,

 8   and (b) enhance the power to affect prices by increasing Foreclosure Share. See, e.g., supra at 13, n.22

 9   (citing authorities).

10           The second way that Dr. Singer establishes the propriety of using Zuffa’s 30-month Exclusive

11   Contracts to measure foreclosure is by comparing that contract duration with the career length of a

12   typical MMA Fighter. Dr. Singer shows that

13                                 . SR2 ¶64 & Table 1.

14                                                                                                       , SR1

15   ¶¶99-100, 106, 108-111, 127; SR2 ¶24—

16                                        . SR2 ¶64 & Table 1. An exclusive contract that lasts for 30-

17   months—2 ½ years—therefore has a powerful exclusionary effect (even putting aside the various ways

18   in which Zuffa’s contracts in fact continue as long as Zuffa so desires, e.g.,

19                                              ). Id.; ZR1 ¶¶12-22.

20

21                                                                                      , SR2 ¶¶64-66, 50 a result

22

23   50

24

25                                                                                                 . SR2 ¶64.
26

27

28                                                                                    . Id. ¶¶64-65.
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 1   that Dr. Singer’s regressions confirm. SR1 ¶186.

 2          The third way Dr. Singer shows that Zuffa’s 30-month contracts foreclosed competition is

 3   documentary evidence, including from Zuffa itself, its investors, and other market actors. A 2009

 4   Deutsche Bank Report, for example, noted

 5

 6                        SR1 ¶159 (quoting CD, Ex. 35 (ZUF-000162329) at 347). Similarly, a 2014

 7   Moody’s Credit Opinion cited

 8                               SR1 ¶159 (quoting CD2, Ex. 65 (ZFL-1081154) at 54). Indeed, Zuffa itself

 9   drafted text for Deutsche Bank for a 2013 debt-offering prospectus that admitted,

10

11   SR1 ¶160 (quoting CD2, Ex. 63 (ZFL-1055607) at 613). When announcing an upgrade in Zuffa’s rating

12   outlook in 2010, Moody’s noted

13                                    SR1 ¶160 (quoting CD2, Ex. 80 (Moody’s Investors Service,

14   “Announcement: Moody’s Changed Zuffa LLC's (d/b/a Ultimate Fighting Championship or UFC)

15   Rating Outlook to Positive from Stable,” (Dec. 1, 2010)). Further, Zuffa spoke internally of

16

17                                     ” SR1 ¶162 (quoting CD2, Ex. 67 (ZFL-1872579); CD2, Ex. 69

18   (ZFL-2497585); CD2, Ex. 70 (ZFL-2536695)). Dr. Singer cites this and copious additional evidence.

19   Id. ¶¶159-162. The notion that Dr. Singer lacked evidence that Zuffa’s 30-month, Exclusive Contracts

20   foreclosed competition is irreconcilable with the record.

21          Zuffa offers a few additional arguments. In a parenthetical and footnote it suggests—but does

22   not assert—that 30-month exclusive contracts are too short to be anticompetitive under case law. SD at

23   21. Zuffa is wrong. There is no set minimum contract length for an exclusive dealing claim, much less

24   does case law hold a contract of thirty months is too short. See PHILLIP E. AREEDA & HERBERT

25   HOVENKAMP, XI ANTITRUST LAW ¶1821(d)(3) (contracts longer than one year can be anticompetitive).

26

27

28
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 1   The cases Zuffa cites in a footnote do not hold otherwise. SD at 21, n.11. 51 In the Ninth Circuit in

 2   particular, the test is whether Zuffa’s Exclusive Contracts were in fact able to foreclose a substantial

 3   share of the market and thereby cause anticompetitive harm—and, as discussed supra at III, Dr. Singer

 4   has shown they were. Tampa Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 326, 329 (1961) (“practical

 5   effect” of agreement is what matters in exclusive dealing case and party with market power policed

 6   more strictly); Twin City, 676 F.2d at 1302-03 (relevant question in exclusive dealing case is pragmatic:

 7   whether defendant’s exclusive contract in fact caused anticompetitive harm); Pro Search Plus, LLC v.

 8   VFM Leonardo, Inc., 2013 U.S. Dist. LEXIS 169856, at *14-15 (C.D. Cal. Dec. 2, 2013) (what is

 9   important is “the effect . . . in the real world”) (quotation omitted); id. (“economic realities rather than a

10   formalistic approach must govern review of antitrust activity”) (quotation omitted). Indeed, the

11   practical effect of contracts needs to be exclusionary—but the express terms need not be, much less for

12   more than 30 months. Pro Search Plus, 2013 U.S. Dist. LEXIS 169856, at *14-15 (citing ZF Meritor,

13   696 F.3d at 270). Moreover, as explained in Plaintiffs’ motion for class certification, as a practical

14   matter the exclusive negotiation and right to match clauses allowed Zuffa to extend their contracts in

15   perpetuity. See Class Mot. at 9 (citing evidence). 52

16

17   51
        Arminak & Assocs., Inc. v. Saint-Gobain Calmar, Inc., 789 F. Supp. 2d 1201, 1203, 1212
     (C.D. Cal. 2011), did not hold—as Zuffa implies—that exclusive contracts of three to five years are not
18   anticompetitive, but merely held instead that the plaintiff could not admit evidence of the defendants’
     legal conduct to establish the defendant’s anticompetitive intent with regard to its exclusive dealing.
19
     Similarly, Woman’s Clinic, Inc. v. St. John’s Health Sys., Inc., 252 F. Supp. 2d 857, 870 (W.D. Mo.
20   2002), granted summary judgment against plaintiffs under federal antitrust law not because five-year
     exclusive contracts were too short to foreclose competition, but because plaintiffs had not established
21   market power or defined a relevant market. Indeck Energy Servs., Inc. v. Consumers Energy Co., 250
     F.3d 972, 974-75 (6th Cir. 2000), affirmed summary judgment based on a lack of antitrust standing
22   because the plaintiff had failed to show harm to competition, not because exclusive contracts of five to
23   ten years are necessarily too short to support an exclusive dealing claim. Spinelli v. Nat’l Football
     League, 96 F. Supp. 3d 81, 117-118 (S.D.N.Y. 2015), granted a motion to dismiss because the contracts
24   at issue were not exclusive and because they were the subject of open bidding when they terminated—
     neither of which is true here—not because three-year exclusive contracts are too short to foreclose
25   competition.
     52
26      Zuffa also falsely implies that Dr. Singer’s testimony has been excluded in regard to issues related to
     foreclosure. SD at 22-23. Although Zuffa obscures the point, Cephalon and Apotex were two stages of
27   the same case, and the opinions excluded only small portions of his extensive expert testimony, none of
     which had to do with foreclosure. 2015 WL 12645766, at *5-6; 321 F.R.D. at 237. Further, as noted
28
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 1          Zuffa makes a grab bag of other unpersuasive points. It implies that it is a problem for Dr.

 2   Singer’s theory that Zuffa could have a high market share and a low Foreclosure Share. SD at 20-21. It

 3   is not. Even if Zuffa had a high market share, without its long-term, Exclusive Contracts with Fighters,

 4   Zuffa would not have foreclosed competition and, as Dr. Singer’s impact regressions show,

 5                                      . SR2 ¶¶191-197. Zuffa also appears to criticize Dr. Singer for

 6   refraining from drawing any legal conclusions about permissible contract length, id. at 21 (while also,

 7   inconsistently, implying he has improperly drawn legal conclusions in past cases, id. at 22). Dr. Singer

 8   is right not to draw legal conclusions. Instead, he properly notes that, as a matter of economics, Zuffa’s

 9   30-month contracts foreclosed competition and suppressed Fighter Wage Share, and that if Zuffa’s

10   contract lengths were reduced enough not to be anticompetitive—Dr. Singer opines

11                                                                                      , SR2 ¶¶191-195—then

12   Fighter Wage Share would increase. However, he properly recognizes the finder of fact determines how

13   long exclusive contracts can be without violating the law. 53

14          C.      Dr. Singer’s Inclusion of Strikeforce Data in his Regressions Is Proper
15          Zuffa claims Dr. Singer should not have included Strikeforce data in his regressions. SD 23.

16   Zuffa is wrong. Strikeforce was an MMA promoter, operated in the same market as Zuffa, and offered a

17   valuable baseline because, unlike Zuffa, Strikeforce lacked significant market power. SR2 ¶¶77-78.

18
     above, the courts did not exclude his testimony in either In re Fla. Cement & Concrete Antitrust Litig.,
19
     278 F.R.D. 674 (S.D. Fla. 2012), SD at 22 (nothing excluded; court disagreed with Dr. Singer’s “pass
20   through” analysis in indirect purchaser case) or Mazda v. Carfax, Inc., 2016 WL 7231941 (S.D.N.Y.
     Dec. 9, 2016), SD at 22 (nothing excluded; court disagreed at summary judgment with evidentiary basis
21   for one of his opinions), and Mazda is on appeal.
     53
        Zuffa also suggests that Dr. Singer “admitted that his injury and damages estimates would be the
22   same if the court ruled that exclusive contracts of two years or less were legal because the court’s
23   definition would automatically be the ‘foreclosure share’ in his regression analysis.” SD at 21. That
     point is incoherent. Dr. Singer did not make or admit it. The permissible length of an exclusive contract
24   and Foreclosure Share are distinct concepts and are not interchangeable with one another. Moreover,
     what the impact regressions show is that Zuffa’s contracts as they currently exist are anticompetitive.
25   The point of the analysis is to compare the current conduct to a but-for world in which Zuffa’s contracts
     are no longer substantially restricting Fighter mobility. There is no basis in the record to conclude that
26
     if Zuffa merely imposed the same contracts (                                                             )
27   and engaged in the same Scheme, but simply                                                   that that would
     erase the anticompetitive effects. Thus, that is not a plausible but-for world scenario, and his model
28   need not account for it.
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 1   Zuffa’s own expert, Dr. Topel, admitted that Strikeforce is

 2                 SR2 ¶77 & n. 276 (citing TR1 ¶287), and used Strikeforce as a competitive benchmark.

 3   SR2 ¶77 & n. 278 (citing TR1 ¶¶286-288).

 4           Nonetheless, Dr. Topel

 5

 6                            . TR1 ¶¶151-156. As Dr. Singer explains, however, Dr. Topel used the Chow

 7   test improperly and, when applied correctly, the Chow test supports including the Strikeforce data: that

 8   data is in material ways consistent with the Zuffa data and, when controlling for the differences as Dr.

 9   Singer did, strengthens his regressions. SR2 ¶¶79-87.

10                                                                                . Id. ¶87. Zuffa addresses

11   none of these points. It cites Dr. Topel’s original opinion but ignores Dr. Singer’s response. SD at 23. 54

12           Zuffa’s lawyers also speculate, without citing expert testimony, that Dr. Singer’s reliance on

13   Strikeforce data is inappropriate because he treats Strikeforce’s pre-acquisition contracts—i.e., its

14   contracts from before it was acquired by Zuffa—as not contributing to foreclosure but then treats

15   Strikeforce’s post-acquisition contracts—i.e., its contracts after most of its Fighters became part of

16   Zuffa—as contributing to foreclosure. SD at 23. But that is appropriate. While Dr. Singer shows Zuffa

17   foreclosed competition through its contracts, no expert has suggested that Strikeforce had the market

18   power to do so. 55 Moreover, Dr. Singer performs a standard statistical test to assess whether Zuffa’s

19   Foreclosure Share affected Fighter Wage Share at Strikeforce and concludes it did not, showing his

20   approach to be appropriate. SR1 ¶¶182-183 & n.454; SR2 ¶75 & n. 274; id. ¶84. Zuffa’s economists

21   have not challenged that finding.

22           Zuffa also complains that when former Strikeforce Fighters signed with Zuffa (after the

23

24   54
        Dr. Topel’s unauthorized sur-rebuttal report makes new arguments in response to Dr. Singer’s reply
     report. Zuffa has failed to cite or raise those new arguments in its moving papers, and should not be
25   permitted to make them for the first time on reply. Intrade Indus., Inc. v. Foreign Cargo Mgmt. Corp.,
     2008 WL 5397495, at *2 (E.D. Cal. 2008). Further, the new arguments are incorrect, as Dr. Singer
26
     explains in his supplemental report. SR3 ¶¶5, 10-12, 17, 22, 28, 39, 42-45, 50-51.
     55
27      See CD2, Ex. 57 (Topel Dep. 2) at 303:24-304:7 (“Q. . . . in your view Strikeforce doesn’t have
     market power . . .? A. That’s my view.”); id. at 370:12-15 (“Q. Did Strikeforce have a significant share
28   of the input or output markets at the time it was taken over by Zuffa? A. Evidently not.”).
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 1   acquisition) they received a pay increase measured in dollars, yet Dr. Singer finds they were paid a less

 2   competitive amount measured in Wage Share. SD at 23. However, that too is proper. As Zuffa itself

 3   admits, “the event revenues for Zuffa events are . . . considerably higher than [for] Strikeforce events.”

 4   SD at 23. Zuffa had a higher-caliber pool of Fighters, creating additional revenue-generating potential

 5   for these Fighters. That means that if Zuffa did not have monopsony power, it would have had to pay

 6   the former Strikeforce Fighters “considerably” more—not just slightly more—than did Strikeforce.

 7   SR2 ¶75. Zuffa’s argument to the contrary not only lacks a basis in expert testimony but also is a

 8   reprise of its incorrect claim that Dr. Singer should have used wage level instead of Wage Share.

 9          D.        Dr. Singer’s Opinions “Related to Damages Analysis” Should Be Admitted
10          Zuffa moves to exclude Dr. Singer’s opinions “related to damages analysis.” SD at 24-28. If

11   Plaintiffs establish that Zuffa violated federal antitrust laws, they must then show that Zuffa’s illegal

12   conduct caused antitrust injury (impact) and must calculate the aggregate damages to Class members.

13   Dr. Singer offers expert economic opinions on these issues. As discussed above, among other

14   techniques, he uses a regression to show that if Zuffa’s illegal Foreclosure Share had decreased to legal

15   levels, its Fighters’ Wage Share would have increased dramatically. That analysis enables him: (1) to

16   opine that Zuffa’s illegal foreclosure of the market caused impact—it suppressed Fighter pay—and (2)

17   to calculate the resulting aggregate damages.

18               1.      Dr. Singer’s Analysis Is Sufficiently Specific about the But-For World.
19          Zuffa’s first complaint is that Dr. Singer allegedly does not specify what Zuffa would have done

20   differently in the but-for world that would have caused a reduction in Foreclosure Share. SD at 24-26.

21   That argument fails as a matter of law, logic, and evidence.

22          As a matter of law, once plaintiffs establish an antitrust violation, the Supreme Court has held

23   that the burden of proving antitrust injury is “lightened” because: “The vagaries of the marketplace

24   usually deny us sure knowledge of what plaintiff’s situation would have been in the absence of the

25   defendant’s antitrust violation.” J. Truett Payne Co., Inc. v. Chrysler Motors Corp., 451 U.S. 557, 566,

26   568 (1981). Similarly, the Supreme Court long ago held in an antitrust case that “the wrongdoer may

27   not object to the plaintiff’s reasonable estimate of the cause of injury and of its amount, supported by

28
                                                          31                       Case No.: 2:15-cv-01045-RFB-(PAL)
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 1   the evidence, because it is not based on more accurate data which the wrongdoer’s misconduct has

 2   rendered unavailable.” Bigelow v. RKO Radio Pictures, Inc., 327 U.S. 251, 265 (1946) (emphasis

 3   added). If Plaintiffs establish an antitrust violation, uncertainty about causation of injury and the

 4   amount of damages, then, should be resolved in favor of Plaintiffs, the victims, not in favor of Zuffa,

 5   the wrongdoer. 56

 6           Zuffa’s criticism is also incorrect as a matter of economic logic. It is striking in this regard that

 7   Zuffa does not cite any of its experts in claiming that Dr. Singer’s “but-for” world is insufficiently

 8   specific. Zuffa’s omission is fatal. Attorney speculation is not evidence and is insufficient to exclude

 9   expert testimony. See supra at 14. In any case, Dr. Singer’s regression analysis shows that Zuffa’s

10   Foreclosure Share has an inverse relationship with Wage Share, all else remaining the same. SR1

11   ¶¶153, 250, 252; SR2 ¶188. In other words, as Zuffa’s Foreclosure Share went up, Wage Share went

12   down, controlling for hundreds of other variables. As a result, all that Dr. Singer has to specify about

13   his but-for world to establish causation of injury and to calculate damages is that Zuffa’s Foreclosure

14   Share would decrease without the Scheme (which it would, by definition)—and thus Fighter Wage

15   Share would increase. SR2 ¶¶188, 197.

16           Although further specificity about the “but-for” world is not necessary, Dr. Singer nonetheless

17   provides additional details about how the market would look without Zuffa’s illegal Scheme. Based on

18

19   56
        See also Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013) (damages “[c]alculations need not be
20   exact”); Zenith Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 114 n.9 (1969) (“a plaintiff need
     not exhaust all possible alternative sources of injury in fulfilling his burden of proving compensable
21   injury”); id. at 123 (courts should “observe the practical limits of the burden of proof” because
     “damage issues in these cases are rarely susceptible of the kind of concrete, detailed proof of injury
22   which is available in other contexts”); LePage’s, Inc. v. 3M , 324 F.3d 141, 166 (3d Cir. 2002) (“in
23   constructing a hypothetical world free of the defendants’ exclusionary activities, the plaintiffs are given
     some latitude in calculating damages, so long as their theory is not wholly speculative”); In re
24   Microsoft Corp. Antitrust Litig., 699 F. Supp. 2d 730, 748 (D. Md. 2010) (quoting U.S. v. Microsoft
     Corp., 253 F.3d 34, 79 (D.C. Cir. 2001)), rev’d on other grounds, 429 F. App’x 254 (4th Cir. 2011)
25   (“courts should be reluctant to demand too much certainty in proving that such conduct caused
     anticompetitive harm because [t]o some degree, the defendant is made to suffer the uncertain
26
     consequences of its own undesirable conduct’”); In re Asacol Antitrust Litig., 2017 WL 5196381, at
27   *32 (D. Mass. Nov. 9, 2007) (quoting Bigelow, 327 U.S. at 264) (in regard to causation and amount of
     damages “in antitrust suits, ‘juries are allowed to act on probable and inferential as well as (upon)
28   direct and positive proof’”).
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 1   Zuffa’s conduct when it had less market power than it currently does, and on the conduct of other

 2   MMA promoters with less market power than Zuffa, Dr. Singer opines, for example, that in the “but-

 3   for” world,                                                             , SR2 ¶¶191-93,

 4                                         ” id. ¶194,

 5                                                            , id. ¶195, and different MMA promoters would

 6   allow their Fighters to compete against one another to stage popular Bouts. Id. ¶196. As a result, MMA

 7   promoters would compete for top talent, driving up Fighter compensation closer to the value the

 8   Fighters provide, as well as increasing total Event Revenues and strengthening MMA in general. Id.

 9   ¶197 (discussing the admissions of Dr. Oyer, Zuffa’s economist, that enhanced competition increases

10   worker compensation and generates greater overall revenue) (citing CD2, Ex. 55 (Oyer Dep.) at

11   193:19-22, 200:20-201:3, 201:17-202:3). Zuffa ignores all of this. 57

12                 2.   Dr. Singer’s “But-For” World Is Rational.
13           Zuffa also argues that Dr. Singer “assumes an irrational economic world.” SD at 26. The basis

14   for its position is that Dr. Singer’s “but-for” world assumes “a vastly different market structure than any

15   successful promoter uses today.” Id. at 26 (italics in original; bold added). But once Plaintiffs have
16   established an antitrust violation, they have shown that Zuffa’s illegal conduct has corrupted the market

17   today. The “but-for” world, by definition, is one in which Zuffa would not engage in that illegal

18   conduct. So it does not matter that Zuffa’s contracts today, for example, have a variety of

19   anticompetitive provisions. Nor is it appropriate to assume that smaller MMA promoters—with less

20   market power—engage in the same practices today that they would if the market were competitive. See

21

22   57
        Instead, Zuffa cites In re Pharmacy Benefit Managers Antitrust Litig., 2017 WL 275398, at *20 (E.D.
23   Pa. Jan. 18, 2017), for the unexceptional proposition that a plaintiff’s theory of impact should match its
     damages model. SD at 26. Dr. Singer’s does. His analysis of impact and damages both measure only
24   the effect of foreclosure from Zuffa’s exclusionary contracts. SR2 ¶188. To the extent other contractual
     provisions or conduct may have been illegal and contributed to impact and additional damages, Dr.
25   Singer’s analysis is conservative. Id. For the same reason, Dr. Singer’s testimony satisfies In re Rail
     Freight Fuel Surcharge Antitrust Litig., 2017 WL 5311533, at * 58 (D.D.C. Nov. 13, 2017), an opinion
26
     that specifically rejects efforts, like Zuffa’s, to force plaintiffs to separate out the parts of a single
27   scheme. See id at *56 (“‘[T]he character and effect of a conspiracy are not to be judged by
     dismembering it and viewing its separate parts, but only by looking at it as a whole.’ Cont’l Ore Co. v.
28   Union Carbide & Carbon Corp., 370 U.S. 690, 699[] (1962) (citation omitted).”).
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 1   SR2 ¶¶235-37 (explaining when a dominant firm engages in anticompetitive conduct, other firms often

 2   are incentivized to imitate it).

 3           Moreover, Dr. Singer bases his “but-for” world on ample evidence. As he explains: (1)

 4                                                                        id. ¶191; (2)

 5

 6

 7                         id. ¶194; and (3) smaller MMA promoters allow their Fighters to enter Bouts with

 8   one another, Zuffa expressed interest in doing so before it increased its market power, and Zuffa did

 9   engage in co-promotion of a boxing match between Floyd Mayweather and Conor McGregor because it

10   lacked market power in the boxing market. Id. ¶¶196, 222-26. That evidence provides a solid basis for

11   Dr. Singer’s testimony about what would have occurred in the “but-for” world. Zuffa offers no expert

12   opinion or admissible evidence to the contrary. 58

13           E.      Dr. Singer’s Strikeforce and Bellator Benchmarks Are Appropriate
14           Zuffa criticizes Dr. Singer’s alternate damages models that use Strikeforce and Bellator as

15   benchmarks. SD at 27. Zuffa claims that it is different from those MMA promoters because it is larger

16   and that Dr. Singer fails to take that difference into account. Untrue. By relying on Wage Share, Dr.

17   Singer’s approach automatically adjusts for size. Fighter compensation is pegged to the revenues that

18

19   58
        Zuffa’s reliance on Allied Orthopedic Appliances, Inc. v. Tyco Health Care Grp., 592 F.3d 991, 996
20   (9th Cir. 2010), SD at 26, is unavailing because (1) the language Zuffa cites addresses when an
     exclusive agreement is illegal, not how a “but-for” world should be defined after plaintiffs have already
21   shown such an agreement is illegal, id., and (2) it did not involve an exclusive contract but rather only
     discounts that encouraged loyalty. Id. Similarly, In re Online DVD Rental Antitrust Litig., 2011 WL
22   5883772, at *15 (N.D. Cal. Nov. 23, 2011), aff’d sub nom. In re Online DVD-Rental Antitrust Litig.,
23   779 F.3d 914 (9th Cir. 2015), SD at 24, 26, involved (1) summary judgment, not Daubert, and (2) the
     court criticized plaintiffs’ expert for ignoring how the market functioned before the alleged unlawful
24   conduct, whereas Zuffa claims Dr. Singer must treat the market during the illegal conduct as if it were
     competitive.
25           None of the other cases Zuffa cites supports its position. Concord Boat Corp. v. Brunswick, 207
     F.3d 1039, 1055 (8th Cir. 2000), SD at 24, merely notes that the district court had required plaintiffs to
26
     explain how the “‘but for’ market” would be different without the illegal conduct; it did not suggest
27   how specific the plaintiffs had to be. Similarly, Murphy Tugboat Co. v. Crowley, 658 F.2d 1256, 1262
     (9th Cir. 1981), SD 24, merely holds that economical rationality should be presumed, which Dr. Singer
28   does.
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 1   an event generates, so that an MMA promoter that generates less revenue—is smaller—is expected to

 2   pay its Fighters less. It is Zuffa’s use of wage levels that fails to properly take into account the size of

 3   MMA promoters. SR2 ¶¶110-20 (criticizing Zuffa’s economists for failing to take into account Event

 4   Revenues at some points, and for taking those revenues into account improperly at others); MR1 ¶¶29-

 5   30 (same).

 6           Moreover, Zuffa’s own expert, Dr. Oyer, suggested that, all things equal,

 7

 8

 9                                                                                   OR1 ¶58; CD2, Ex. 55

10   (Oyer Dep.) at 171:4-11. So Zuffa’s own economist suggested

11                              —that is, in a competitive market Zuffa

12                                 . Against this evidence Zuffa offers—nothing. 59

13           Finally, even if Zuffa had provided credible reasons to reject Dr. Singer’s yardsticks—it has

14   not—that would affect the weight of his testimony, not its admissibility. In re Blood Reagent Antitrust

15   Litig., 2015 WL 6123211, at *12 (E.D. Pa. Oct. 19, 2015) (explaining that challenges to expert’s

16   benchmark implicated weight testimony should be given, not admissibility, and denying request to

17   exclude expert testimony); In re Mushroom Direct Purchaser Antitrust Litig., 2015 WL 5767415, at *6-

18   14 (E.D. Pa. July 29, 2015) (rejecting Daubert challenges to expert’s benchmark and regression

19   analysis); see also Fleischman v. Albany Med. Ctr., 728 F. Supp. 2d 130, 150 (N.D.N.Y. 2010)

20   (“Differences in expert opinion as to which benchmark is more reliable does not render [expert’s]

21   opinions unreliable.”).

22           F.      Dr. Singer’s Identity Class Damages Calculation Is Reliable and Proper
23           Zuffa argues that Dr. Singer’s damages calculation for the Identity Class is unreliable and not

24

25   59
        Nor does Zuffa’s position find support in its ad hominem attack on Dr. Singer based on an irrelevant
     opinion in In re Cox Enterprises, Inc., 2011 WL 6826813, at *16. In Cox, the court did not exclude Dr.
26
     Singer’s testimony under Daubert—in fact it praised him: “Dr. Singer is a well-qualified economist,
27   which Defendant does not dispute.” Id. at *15. Cox did not reach the Daubert issue because it found—
     in evaluating class certification—that common issues did not predominate, rendering admissibility
28   under Daubert moot. Id. at *15-16.
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 1   expert testimony. SD at 27-28. It claims that Dr. Singer merely “transcribe[d] a dollar value from a

 2   document which,” Zuffa asserts, “is not a valid way to assess impact or calculate damages.” Id. In fact,

 3   Dr. Singer offered an economic explanation for why actual payments Zuffa made in the real world for

 4   identity rights serve as a conservative benchmark for how much it would have paid for identity rights in

 5   the “but-for” world if it lacked monopsony power (the yardsticks are conservative because, absent the

 6   Scheme, Zuffa likely would have paid more than it did in the benchmark). SR1 ¶¶238-240; SR2 ¶¶169-

 7   170. Zuffa identifies no flaw in Dr. Singer’s reasoning and, again, cites no evidence to contradict it.

 8   Instead, it cites an inapposite case in which an expert “simply adopted the opinions of others and

 9   performed grade-school arithmetic counsel can do on an easel.” SD at 27-28 (citing Waymo LLC v.

10   Uber Techs., Inc., 2017 WL 5148390, at * 5 (N.D. Cal. Nov. 6, 2017)). But Dr. Singer did not rely on

11   the testimony of any other expert, instead he exercised expert economic judgment in determining

12   whether the amount Zuffa paid in the real world for comparable rights is an appropriate benchmark for

13   damages. Dr. Singer’s opinion is reliable.

14          G.      Dr. Singer’s Analyses of Market Power Are Reliable
15          A central question in this case is whether Zuffa, through its Scheme, had the power as a buyer

16   to suppress the amounts it paid for the services of its Fighters (sellers) below competitive levels. That

17   form of market power is called monopsony power. Dr. Singer shows in two ways that Zuffa had

18   monopsony power. First, he offers direct evidence—including the impact regressions themselves—

19   demonstrating that Zuffa used its Exclusive Contracts to foreclose potential competition and suppress

20   its Fighters’ Wage Share from                (where it would have been absent the Scheme)

21               Second, he defines a relevant market for MMA Fighter Services and shows Zuffa controlled

22   a high percentage of it—                       —confirming Zuffa could do what the direct evidence

23   shows it did do: suppress pay below competitive levels. SR1 ¶¶99, 129; SR2 ¶¶19, 21, 26.

24          A subsidiary question is whether Zuffa as a seller had the power, for example, to artificially

25   inflate prices for MMA Events (through pay-per-view and the like). That form of market power is

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27

28
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 1   called monopoly power. 60 Dr. Singer finds Zuffa also had monopoly power. Plaintiffs seek to recover

 2   only for under-compensation, so Zuffa’s monopoly power is not relevant to their theory of injury, but

 3   only to show additional anticompetitive effects flowing from the Scheme.

 4               1.     Dr. Singer Uses Direct and Indirect Evidence to Show Market Power.
 5           Market power can be proven directly—by showing the ability to control pay or price—or

 6   indirectly—by showing a significant share of a relevant market. Rebel Oil, 51 F.3d at 1434; Geneva

 7   Pharm. Tech. Corp. v. Barr Labs. Inc., 386 F.3d 485, 500 (2d Cir. 2004). 61 Either suffices. Rebel Oil, 51

 8   F.3d at 1434. Dr. Singer uses well-established direct and indirect methods to show that Zuffa had

 9   sufficient market power both to suppress pay and to increase prices. Given that a key issue here is

10   whether Zuffa could suppress Fighter pay by foreclosing rivals, direct evidence that it did just that is

11   enough to satisfy the relevant market power test. Id.; SR1 ¶93.

12               2.     Dr. Singer’s Direct Proof of Market Power Is Reliable.
13           Dr. Singer demonstrates Zuffa’s monopsony power directly with empirical proof that it

14   suppressed Fighter pay below competitive levels, including, inter alia: (1) impact regressions, showing

15   that the more Fighters it controlled, the lower its Fighters’ Wage Share was, supra at 10; (2) evidence

16   that Zuffa successfully imposed

17                          , SR1 ¶¶191-92; SR2 ¶¶37, 41; and, (3) additional evidence that Zuffa

18

19                        . SR1 ¶¶189-190. The ability to suppress pay and reduce labor mobility is direct

20

21
     60
        United States v. Grinnell Corp., 384 U.S. 563, 571 (1966) (market power is the “power to control
22   prices or exclude competition”) (internal quotes and citation omitted); see also Weyerhaeuser Co. v.
23   Ross-Simmons Hardwood Lumber Co., Inc., 549 U.S. 312, 322 (2007) (“similar legal standards should
     apply to claims of monopolization and to claims of monopsonization”).
24   61
        Zuffa’s assertion is incorrect that market definition is “indispensable to a monopolization claim.” SD
     at 28 (citing Morgan, Strand, Wheeler & Biggs v. Radiology, Ltd., 924 F.2d 1484, 1491 (9th Cir. 1991);
25   Cont’l T.V. Inc. v. GTE Sylvania, Inc., 433 U.S. 36, 53 n.21 (1977)). Neither case discusses direct
     evidence and both cases predate Rebel Oil. Market definition is necessary only for indirect proof of
26
     market power. PepsiCo, Inc. v. Coca-Cola Co., 315 F.3d 101, 107-08 (2d Cir. 2002) (where there is
27   direct evidence, a “relevant market definition is not a necessary component of a monopolization
     claim”).
28
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 1   evidence of monopsony power. 62 Dr. Singer also demonstrates Zuffa’s monopoly power directly with

 2   evidence that Zuffa

 3                                    SR2 ¶44; see also SR1 ¶¶147-48. 63 Reduced output and increased price

 4   constitute direct evidence of monopoly power. See, supra, nn.23 & 62.

 5           Zuffa questions Dr. Singer’s reliance on his findings that Zuffa (1) decreased Fighter pay, (2)

 6   suppressed PPV output, and (3) increased PPV prices because Zuffa claims he did not rule out causes

 7   other than market power. SD at 35. But Dr. Singer’s primary direct proof of market power are his

 8   impact regressions, which                                        and show Zuffa’s foreclosure of the

 9   market suppressed compensation below competitive levels. Supra at 25. Zuffa identifies no variable

10   that would change his result. See supra V.A.4 (the party seeking exclusion must identify missing

11   variable that alters analysis result). Zuffa contests Dr. Singer’s finding that Zuffa’s sponsorship tax is

12   direct evidence of market power. SD at 38. But, as Dr. Singer explains,

13

14                     . SR1 ¶¶191-92 & nn.469-72; SR2 ¶41. Successfully implementing a profitable

15   reduction in compensation is direct evidence of monopsony power because, without it, Fighters would

16   have left Zuffa as their income fell. Id. Zuffa offers only vague speculation that other factors could have

17   offset Fighter pay losses from this tax. SD at 38. But speculation without evidence is insufficient to

18   support a Daubert motion. Further, disputes about the factual underpinnings of an expert opinion are

19   not grounds for exclusion. 64 And, though Zuffa implies otherwise, regression analyses are not the only

20

21   62
        E.g., In re High-Tech, 856 F. Supp. 2d at 1122 (allegation that “Defendants succeeded in lowering
     compensation and mobility of their employees below what would have prevailed in a lawful and
22   properly functioning market” is direct evidence that “Defendants had the market power to do” so).
     63
23      Dr. Singer also directly demonstrates monopoly power by showing that Zuffa
                                                                                            SR1 ¶¶203-07 &
24   Tables 4A-4C; SR2 ¶¶42, 47-49; see also SR1 ¶194 & nn.478-83. Zuffa does not challenge that
     opinion. Indeed, although the section heading refers to Dr. Singer’s finding that Zuffa reduced MMA
25   events overall, the text of the section discusses only the reduction in the number of Zuffa PPV events.
     SD at 36.
26   64
        See, e.g., Hangarter v. Provident Life and Acc. Ins. Co., 373 F.3d 998, 1017 n.14 (9th Cir. 2004)
27   (“[T]he factual basis of an expert opinion goes to the credibility of the testimony, not the admissibility
     and it is up to the opposing party to examine the factual basis for the opinion in cross-examination.”
28
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 1   admissible means of inferring causation. 65

 2          Zuffa criticizes Dr. Singer’s findings that Zuffa suppressed PPV output and raised PPV prices

 3   because he does not rule out “reduced demand” as an explanation for lower output and, simultaneously,

 4   “increased demand” as an explanation for higher PPV prices. SD at 36, 37 (emphasis added). But those

 5   positions are inconsistent: changes in demand cannot simultaneously explain reduced output (which

 6   results from decreased demand) and higher prices (which result from increased demand); an

 7   explanation of both of those effects at the same time requires growing market power or an increase in

 8   costs, and the latter is ruled out by Zuffa’s own data. See SR2 ¶46.

 9          Zuffa also claims Dr. Singer’s finding that Zuffa had the market power to reduce PPV event

10   output between 2010 and 2015 did not account for Zuffa’s 2011 contract with Fox, which Zuffa claims

11   “shifted more events to its broadcast partner.” SD at 36. But Zuffa’s only evidence of this supposed

12   shift is a snippet of vague testimony about an unknown number of PPV events broadcast on Fox “a few

13   times.” SD at 36. 66 Zuffa further trumpets that “the overall number of Zuffa events” has risen. SD at 36.

14
     (quotation omitted)); Giuliano v. Sandisk Corp., 2015 WL 10890654, at *8 (N.D. Cal. May 14, 2015)
15   (“To the extent [defendant] challenges the factual basis of [the expert’s] direct evidence opinion,
16   questions regarding the evidence relied upon by [the expert] go to the weight, not the admissibility of
     his opinion.”).
17   65
        Lidoderm, 2017 WL 679367, at *10 (economist reliably demonstrated causation using internal
     documents and studies, but no regression); United States v. Celgene Corp., 226 F. Supp. 3d 1032,
18   1043–44 (C.D. Cal. 2016) (rejecting argument that “even if [plaintiff] can establish causation based on
     aggregate evidence, she must at least present a regression analysis or other statistical model that is
19
     capable of controlling for independent factors”); Dover v. British Airways, PLC (UK), 254 F. Supp. 3d
20   455, 461 (E.D.N.Y. 2017) (refusing to exclude non-regression based opinion as unreliable: “Any
     arguable weakness in this methodology, or the possibility that relevant factors were omitted, goes to
21   weight, not admissibility”); In re Blood Reagents, 2015 WL 6123211, at *11 (“Daubert does not
     mandate the use of . . . econometric tools [like regression].”).
22   66
        Dr. Singer also explains that it
23                                                 . CD2, Ex. 52 (Singer Dep. 1) at 329:3-22. Without
     disputing that fact, Zuffa argues instead that an economist may not opine about motive. But assessing
24   economic incentives is one of the central premises of economic analysis. See, e.g., AREEDA &
     HOVENKAMP, supra n.14, ¶309 (“economics is concerned with incentives …, and as a result it is often
25   thought wise to treat people and firms as if they are rational actors”); Dolphin Tours, Inc. v. Pacifico
     Creative Serv. Inc., 773 F.2d 1506, 1511 (9th Cir. 1985); Murphy Tugboat, 658 F.2d at 1262 (“economic
26
     rationality must be assumed for all competitors”). In re Rezulin Products Liability Litigation, 309 F.
27   Supp. 2d 531, 547 (S.D.N.Y. 2004), SD at 36, is not contrary. It excluded speculation about what a
     regulator may have done with different information; not whether a firm was acting within its economic
28
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 1   But, as Dr. Singer points out, what matters is total output, not the output of any one firm, 67 and it is

 2   undisputed that the total output of Live MMA Events—whether measured by number of events or

 3   aggregate viewership—dropped substantially during the relevant period. See SR1 ¶¶205-07 & Figures

 4   4A-4C; SR2 ¶¶47-49. Nothing explains that but Zuffa’s exercise of market power through the Scheme.

 5   Id.

 6            Concerning Dr. Singer’s finding that Zuffa had the market power to profitably increase the

 7   residential PPV price, Zuffa argues that Dr. Singer uses different measurements that purportedly

 8   “conflict.” SD at 37 (citing Dr. Singer discussing                                      ). But Dr. Singer just

 9   measures the same price hike in two ways:

10

11                        . SR2 ¶45. So the figures are consistent. Further, Zuffa’s assertion that

12                                                                                               is wrong and

13   irrelevant. In fact, Zuffa                                                       , 68

14                         ; the ability to raise prices (no matter the reason) profitably is market power. See,

15   e.g., AREEDA & HOVENKAMP, supra n.14, ¶501 (“A defendant firm has market power if it can raise

16   price without a total loss of sales.”). 69 In any event, a dispute about an expert opinion’s factual

17   underpinnings is for the jury. Hangarter, 373 F.3d at 1017 n.14. 70

18
     interests.
19   67
        See, e.g., Procaps S.A. v. Patheon Inc., 141 F. Supp. 3d 1246, 1278 (S.D. Fla. 2015) (“Plaintiff must
20   measure the magnitude of the actual adverse effects ‘by their impact on the market rather than by their
     impact on competitors’ and show that they are felt ‘marketwide’” (quoting Spanish Broad. Sys. of Fla.,
21   Inc. v. Clear Channel Commc’ns, Inc., 376 F.3d 1065, 1071, 1074-75 & n.5 (11th Cir. 2004)).
     68
        See SR1 ¶199, n.491 (collecting documents); see also CD2, Ex. 68 (ZFL-2279086) at 91 (Deutsche
22   Bank:
23                                     ”).
     69
        Zuffa cites Craftsmen Limousine, Inc. v. Ford Motor Co., 363 F.3d 761, 777 (8th Cir. 2004), to
24   support its assertion that Dr. Singer “assumes” that market power explains the PPV price increase. SD
     at 37. In Craftsmen, however, the expert was not assessing market power, but rather projecting a firm’s
25   growth, and doing so without accounting for the effect of the entry or expansion of new competitors.
     Id. at 777. Dr. Singer, conversely, shows that Zuffa was able to raise price profitably, regardless of the
26
     competition.
     70
27      Zuffa misleadingly cites two cases in which it claims that Dr. Singer’s opinions were excluded for
     supposedly similar reasons. Zuffa claims that in Jarrett, 2014 WL 3735193, Dr. Singer “speculat[ed]
28
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 1              3.      Dr. Singer Offers Reliable Indirect Proof of Market Power.
 2          Dr. Singer also demonstrates market power with standard methods of indirect proof—i.e., by

 3   defining a relevant market and computing Zuffa’s market share. See Rebel Oil, 51 F.3d at 1434. A

 4   relevant market includes products or services “that have reasonable interchangeability for the purposes

 5   for which they are produced—price, use, and qualities considered.” Paladin Assocs. v. Montana Power

 6   Co., 328 F.3d 1145, 1163 (9th Cir. 2003) (citation omitted). 71

 7          Input Market: To evaluate whether Zuffa had sufficient monopsony power to suppress Fighter
 8   pay, Dr. Singer defines an “input” market consisting of buyers of MMA Fighter services. An input

 9   market is defined from the perspective of the sellers—here, the Fighters. It includes all reasonably

10   interchangeable buyers (promotions) to which a seller (Fighter) would turn in the face of a pay

11   decrease. Todd v. Exxon Corp., 275 F.3d 191, 204 (2d Cir. 2001); SR1 ¶¶ 98-99. Dr. Singer’s method

12   involves the standard iterative process, starting with the narrowest market and expanding until all

13   (conceivably) reasonable substitutes are included. SR1 ¶¶99-119; see, e.g., Hynix Semiconductor Inc. v.

14   Rambus, Inc., 2008 WL 73689, at *3 (N.D. Cal. Jan. 5, 2008). Dr. Singer begins with the market for

15   “Elite Professional MMA Fighter services.” Compl. ¶¶76, 90-94; see also SR1 ¶¶105-14, 134-40. He

16   finds substantial evidence—including admissions of Zuffa’s top executives, internal documents, reports

17   by investors and analysts, and financial data—that no MMA promoter is interchangeable with Zuffa

18   from a Fighter’s perspective. See, e.g., SR1 ¶¶131, 134-40 & nn.352, 358-86; SR2 ¶¶16-24, 26. As Dr.

19   Singer observes, “even the most prominent non-Zuffa promoters do not have access to a sufficiently

20   deep pool of talented Fighters to provide competitive matchups to advance a Zuffa Fighter’s career,

21   thus making non-Zuffa MMA promoters an inadequate substitute.” SR1 ¶104.

22

23
     regarding record evidence” resulting in his testimony being found inadmissible. SD at 36. Not so.
24   Jarrett did not find Dr. Singer’s testimony inadmissible; it considered his testimony on the merits, and
     made a factual finding at summary judgment. Id. at *7. Zuffa also cites Kamakahi, 305 F.R.D. 164,
25   referencing that in both cases, Dr. Singer used the phrase “natural experiment.” SD at 38. That is where
     the similarity ends. Kamakahi excluded Dr. Singer’s damages analysis because of the insufficiency of
26
     the available data. 305 F.R.D. at 180-82. No such data issue exists here.
     71
27      “In defining a relevant market for Sherman Act purposes, the court must consider distinction in
     degree as well as kind.” Twin City, 676 F.2d at 1299 (citing Int’l Boxing Club, Inc. v. United States, 358
28   U.S. 242, 251 (1959); Grinnell, 384 U.S. 563).
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 1          However, to be conservative, Dr. Singer defines the market more broadly. His “Tracked”

 2   definition includes nine MMA promoters whose Fighters were tracked by an industry-accepted

 3   database called “FightMetric.” SR1 ¶109; CD2, Ex. 52 (Singer Dep. 1) at 296:17-297:9 (economic

 4   literature on the MMA industry frequently uses FightMetric data). Dr. Singer alternatively uses an even

 5   broader “Ranked” definition, which includes (1) all promoters in the Tracked definition, (2) all

 6   promoters with any Fighter ranked in a separate database (confusingly called “FightMatrix”) (which

 7   ranks Fighters 1 to 650 in each weight class across promotions), and (3) an additional promoter, ONE

 8   Championship, that operates in Asia. SR1 ¶110. Further, Dr. Singer defines an Input Submarket

 9   comprising the top 15 Fighters in any of the ten major MMA weight classes tracked in the USA

10   Today/MMA Junkie rankings (the “Headliner” submarket). Id. ¶112.

11          Output Market: To determine whether Zuffa had sufficient monopoly power to raise consumer
12   prices and reduce output, Dr. Singer defines an “output” market consisting of sellers of Live MMA

13   Events. Dr. Singer includes in the Output Market those promoters with Fighters under contract who

14   were in either the Input Market (however measured) or the Input Submarket. Id. ¶115. While finding

15   that non-Zuffa promoters are “inferior substitutes from the perspective of audiences,” he conservatively

16   includes several additional MMA promoters. Id. ¶119.

17              4.        Zuffa’s Criticisms of Dr. Singer’s Relevant Markets.
18          Zuffa’s challenges to Dr. Singer’s relevant markets are all fatally deficient for one overarching

19   reason: neither Zuffa nor any of its economists identifies a single promoter that Dr. Singer improperly

20   excludes. See Universal Surveillance Corp. v. Checkpoint Sys., Inc., 2015 WL 6082122, at *18-19 &

21   n.10 (N.D. Ohio Sept. 30, 2015) (relevant market testimony admissible where defendant did not

22   identify “a single significant market participant unaccounted for in [the expert’s] analysis”). Zuffa’s

23   arguments are wrong for myriad other reasons as well.

24                   a.      Dr. Singer’s Relevant Input Market Definition Is Reliable.
25          Zuffa asserts that, in defining the input market, Dr. Singer mistakenly focuses on the identity of

26   sellers (Fighters) rather than alternative buyers (promoters) to which Fighters would switch in the face

27   of a pay decrease. SD at 28-29. Zuffa misunderstands Dr. Singer’s analysis: his input markets include

28
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 1   only promoters, SR1 ¶¶109, 111, 114; SR2 ¶16, but he distinguishes between promoters by focusing on

 2   the Fighters they have under contract. He does so for a good reason: a promoter is only as attractive as

 3   its roster of Fighters. A Fighter will switch to a promoter only if the promoter has available other

 4   Fighters such that it can arrange competitive matches and advance the Fighter’s career. 72 Dr. Singer
 5   identifies that as the critical factor in determining, from a Fighter’s perspective, whether to switch

 6   promoters. See, e.g., SR1 ¶¶104, 112, 156-58, 164. 73 Zuffa’s own economist agreed. See TR1 ¶96;

 7   CD2, Ex. 57 (Topel Dep. 2) at 432:25-434:3.

 8           Dr. Singer’s analysis is legally and economically appropriate. The parties agree that, under the

 9   Merger Guidelines, a firm has monopsony power if it is capable of “profitably decreas[ing]

10   compensation to athletes.” SD at 28. The parties also agree that, under the Merger Guidelines, an input

11   market includes only those promoters to which Fighters could turn to prevent a promoter from

12   imposing a “Small but Significant Non-transitory Decrease in Price [or compensation]” or “SSNDP.”
13   Id.; Merger Guidelines, § 12; SR1 ¶98. 74 In other words, to be in the same input market, a promoter

14   needs to be a sufficiently good substitute that a Fighter would switch if Zuffa imposed a SSNDP. See

15   Paladin, 328 F.3d at 1163; SR1 ¶¶98-99. If a promoter does not have a sufficiently good pool of

16   Fighters, then it will not be an appropriate substitute. 75

17           Accordingly, Dr. Singer’s Ranked definition includes every promoter that could possibly have a

18   pool of suitable opponents—including those ranked as low as 650th in a particular weight class. See

19
     72
       To be clear, that was true because of Zuffa’s Scheme. Without its Scheme, promoters allow their
20   Fighters to compete against one another, promoters could compete against each other for Fighters’
21   services, Fighters would have greater bargaining power, and Zuffa would have less market power,
     causing Zuffa’s Wage Share to increase.
22   73
        “In economic terms, Fighters are perfect complements in the MMA bout production function.” SR1
23   ¶156. That means that an individual Fighter requires other Fighters to compete against in multiple bouts
     per year. A promoter that lacks a roster of Fighters of sufficient quality to match up against is not a
24   reasonable substitute.
     74
        See also United States v. Aetna, Inc., 1999 WL 1419046, at *15 (N.D. Tex. Dec. 7, 1999); United
25   States v. Sony Corp. of Am., 1998 WL 1542829, *11 (S.D.N.Y. May 6, 1998).
     75
26      See Naidu, Posner & Weyl, Antitrust Remedies for Labor Market Power, HARV. L. REV. at 28
     (forthcoming) (Feb. 23, 2018), available at https://papers.ssrn.com/sol3/papers.cfm?abstr
27   act_id=3129221 (“[for] labor markets. . . not only the needs of firms, but also the preferences of
     workers, help determine the bounds of the market”).
28
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 1   Geneva, 386 F.3d at 496 (“The goal in defining the relevant market is to identify the market

 2   participants and competitive pressures that restrain an individual firm’s ability to raise prices or restrict

 3   output.”). 76 Notably, Zuffa’s own economists used the same rubric to evaluate the interchangeability of

 4   promoters: the quality of a promoter’s Fighters. TR1 ¶209 (

 5                                        ); BR1 ¶23 (considering input market comprising promoters

 6   affiliated with former Zuffa Fighters). Dr. Topel even complained that promoters with “

 7                                           ” were excluded from the Tracked definition. TR1 ¶212. Dr.

 8   Topel, however, does not identify any such excluded promoters. Dr. Singer’s Ranked definition satisfies

 9   Dr. Topel’s Fighter-focused test, including all promoters with any ranked Fighters. SR1 ¶¶99, 110-11;

10   SR2 ¶24.

11           Zuffa also argues that Dr. Singer’s input market definitions are flawed because he relies on

12   “record evidence” and “the results of his impact regression” instead of market data about features of

13   competing products. SD at 29-30. 77 But, while a regression is not necessary in defining a market, 78 Dr.

14   Singer’s impact regressions showing Zuffa suppressed compensation while controlling only its own

15

16

17   76
        Zuffa’s reliance on Little Rock Cardiology Clinic PA v. Baptist Health, 591 F.3d 591, 597 (8th Cir.
     2009), SD at 29, is misguided. There, the plaintiff cardiologists defined a relevant market in their
18   monopolization suit against a health system and insurer based on the type of insurance patients used.
     Id. The court criticized the market definition because, from the perspective of the cardiologists,
19
     different types of insurance are “reasonably interchangeable” because money is fungible. Id. Here, by
20   contrast, Dr. Singer distinguishes promoters on what the economists on both sides agree is a critical
     differentiating factor: the quality of their pools of Fighters. Fighters, unlike dollars, are not fungible.
21   77
        Zuffa cites two cases for the proposition that an economist must rely on “market data” in defining a
     relevant market, SD at 5 & 29, but neither so holds. Grason Elec. Co. v. Sacramento Mun. Utility Dist.,
22   571 F. Supp. 1504 (E.D. Cal. 1983), SD at 29, upholds a relevant market based on judicially noticed
23   record facts even though Plaintiffs’ expert had failed to offer any analysis based on “market data,
     figures or other relevant material[.]” Id. at 1521. And, the court in AFMS LLC v. United Parcel Serv.
24   Co., 2014 WL 12515335 (C.D. Cal. Feb. 5, 2014), SD at 5, excluded a non-economist’s relevant market
     opinion where the proffered expert (a) conceded that his opinions were “not based on economic
25   theories or principles,” and (b) offered “no explanation for how he arrived at his conclusions.” Id. at *7.
     78
26      See, supra, n.65 (citing cases). Zuffa’s repeated assertion that Zenith Elecs. Cor. v. WH-TV Broad.
     Corp., 395 F.3d 416 (7th Cir. 2005), requires an expert to use regression analysis in market definition,
27   SD at 35-38, is wrong. Zenith stands only for the unremarkable proposition that an expert may not
     “rely[] on intuition” alone in defining markets. 395 F.3d at 418.
28
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 1   Fighters are sufficient. 79 Zuffa misses the point by claiming that “regression results are meaningful only

 2   if the market is properly defined.” SD at 32. “A relevant market” is “any grouping of sales whose

 3   sellers, if unified by a hypothetical cartel or merger, could profitably raise [or lower] prices

 4   significantly above [or below] the competitive level.” 80 Thus, the regression results showing that Zuffa

 5   was able to suppress compensation to Fighters profitably by controlling only its own Fighters mean that

 6   the market should be limited to Zuffa’s Fighters, and certainly should be no broader than Dr. Singer’s

 7   Tracked, Ranked, or Headliner alternatives. 81 Zuffa is also wrong that a plaintiff must show output

 8   suppression and pay suppression to demonstrate market power directly. SD at 32. Either suffices. Rebel

 9   Oil Co., 51 F.3d at 1438 n.10 (proof of price or output effect necessary). In any case, Dr. Singer shows

10   both. SR1 ¶¶145-46, 148, 193-94, 197-207; SR2 ¶¶42-49, 202-207. 82

11           Moreover, the other evidence on which Dr. Singer relies includes market data and other relevant

12   material that distinguish promoters—including principally the quality and caliber of their Fighter

13   pools. 83 Dr. Singer also relies on two industry-accepted databases—FightMetric and FightMatrix—

14
     79
        Zuffa’s claim that “Dr. Singer admitted that he never assessed whether Zuffa suppressed actual
15   athlete compensation,” SD at 32, is wrong and misleading. He was asked whether his regressions use
16   wage levels or Wage Share, and he testified that he uses only the latter because “it’s the right thing to
     look at from an economic perspective[.]” CD2, Ex. 52 (Singer Dep. 1) at 295:6-296:8. As discussed in
17   detail above, the regressions demonstrate that Zuffa suppressed Fighter pay. Supra at 36-38.
     80
        AD/SAT, Div. of Skylight, Inc. v. Associated Press, 181 F.3d 216, 228-29 (2d Cir. 1999). The market
18   is the “smallest possible group of products” that satisfies this test. AREEDA & HOVENKAMP, supra n.14,
     ¶536; Merger Guidelines § 1.11 (2010).
19   81
        Dr. Singer testified his impact regressions show the market likely included “just the fighters under
20   Zuffa’s control,” because Zuffa needed to control no other Fighters to lower pay by a small but
     significant degree without defections. CD2, Ex. 52 (Singer Dep. 1) at 292:7-294:3. To be conservative,
21   he nevertheless relies on broader definitions of the market. Id.
     82
        Dr. Singer’s analysis is consistent with analysis in United States v. Oracle Corp., 331 F. Supp. 2d
22   1098, 1118 (N.D. Cal. 2004), SD at 28 & 32, which assesses anticompetitive effects of a merger.
23   Oracle observed that the proper focus is on the degree to which price increases by the merged entity
     could be countered either by buyers (the merged entity’s customers) moving to competitive products or
24   sellers (competitors) ramping up production. 331 F. Supp. 2d at 1118. In a monopsony case, the analog
     would be to evaluate the degree to which a pay decrease by a buyer (Zuffa) could be countered by
25   sellers (Fighters) moving to other promotions or buyers (other promotions) ramping up hiring. That is
     precisely Dr. Singer’s analysis here.
26   83
        See, e.g., SR1 ¶¶105-14, 134-40 (discussing (1) Zuffa’s own documents, public statements, and its
27   employees’ testimony describing                                                   ; (2) Deutsche Bank’s
     internal report (                                  )
28
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 1   used by MMA promotions including Zuffa. See id. ¶¶108-11. The UFC’s longtime matchmaker, Joe

 2   Silva, testified that the FightMetric data (used for the narrower Tracked definition) was “very

 3   credible.” CD2, Ex. 50 (J. Silva Dep.) at 162:19-164:18; see Daiichi Pharmaceutical Co., Ltd v.

 4   Apotex, Inc., 2005 WL 7979497, at *3-4 (D.N.J. Nov. 1, 2005) (accepting expert testimony based on

 5   data accepted in the relevant industry). 84 Zuffa’s criticism of Dr. Singer’s reliance on FightMatrix data

 6   makes little sense given that Dr. Singer uses this database solely to broaden the market for his Ranked

 7   definition. Zuffa does not challenge Dr. Singer’s use of FightMetric for the narrower Tracked

 8   definition. Further, many of the promoters Dr. Singer includes in the input market

 9                                                                                                  . SR1

10   ¶¶105-09, 111.

11          Finally, Zuffa’s reliance on In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966 (C.D. Cal.

12   2012), SD at 30-31, is misplaced. Live Concert excluded a market definition because it was based

13   solely on an expert’s supposed “qualitative assessment” of whether musicians played “rock.” Live

14   Concert, 863 F. Supp. 2d at 985-86, 988-90 & 994-95. 85 Dr. Singer, by contrast, follows the Merger

15

16
                                                           ; (3) other promoters’ public statements and
17   conduct; and (4)                                                                                            ).
     Dr. Singer further reviewed
18                                                                                               lator. See, e.g.,
     id. at Table 3.
19   84
        Zuffa nitpicks about Dr. Singer’s supposed lack of “industry expertise,” SD at 30-31, but identifies
20   no material error flowing from that purported failing. Zuffa notes that Dr. Singer includes over 200
     promoters in his Ranked definition, but “only provides qualitative descriptions of a handful of
21   promoters.” Id. And it complains about Dr. Singer’s observation of the admitted fact that non-Zuffa
     promoters “do not have access to a sufficiently deep pool of talented Fighters to provide competitive
22   matchups to advance a Zuffa Fighter’s career.” SD at 31. See CD2, Ex. 57 (Topel Dep. 2) at 437:11-
23   441:10; SR2 ¶29. Zuffa does not explain why this is problematic, or how additional “qualitative
     descriptions” would have altered the results. Indeed, that most of the promoters Dr. Singer
24   conservatively includes are relatively insignificant outfits demonstrates just how careful and
     conservative Dr. Singer’s work is.
25   85
        Zuffa also cites Mazda for the proposition that Dr. Singer’s “market definitions have been excluded
     in the past for failing to properly define the scope of the market.” SD at 32. Incorrect. First, Mazda did
26
     not “exclude” Dr. Singer’s testimony, but rather considered the weight and not the admissibility of Dr.
27   Singer’s opinion. Mazda, 2016 WL 7231941, at *12. Second, the scope of the relevant market was not
     at issue on the motion because the parties had stipulated to it. Id. at *11.
28
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 1   Guidelines, using industry-accepted databases and rankings, not his own subjective view of Fighter

 2   quality. See, e.g., SR1 ¶¶99-114; SR2 ¶¶16-26. 86 Dr. Topel could not name a single MMA promoter

 3   with a “material share of the MMA promotion business” that was not in one of those databases. See

 4   CD2, Ex. 57 (Topel Dep. 2) at 478:8-16. Zuffa cites evidence purporting to demonstrate that it

 5   competes with some MMA promoters for Fighters, SD at 31, but neglects to mention that all of those

 6   entities are in Dr. Singer’s defined markets. See SR1 ¶¶109-10. 87

 7                  b.      Dr. Singer’s Relevant Output Market Is Reliable.
 8           Zuffa asserts that Dr. Singer’s output market—“Live MMA Events in which the participating

 9   Fighters are . . . in the Relevant Input Market” SR1 ¶115—is unreliable because he considers only

10   viewers and not “cable distributors, sponsors, or cable networks.” SD at 33 (relying on Kentucky

11   Speedway v. Nat’l Ass’n of Stock Car Auto Racing, Inc., 588 F.3d 908 (6th Cir. 2009)). Dr. Singer’s

12   analysis appropriately focused on viewers, first, because, as he notes without contradiction from

13   Zuffa’s economists, “the demand for Live MMA Events is ultimately driven by audience preferences.”

14   SR1 ¶115. Second, the Output Market is relevant here only to the extent that it can help determine

15   whether Zuffa had the market power to harm consumer welfare by raising prices and reducing MMA

16   output. 88 Dr. Singer shows that

17                                                                                             . SR1 ¶¶147-48;

18   SR2 ¶¶47-49; supra at 37-39. Showing that Zuffa also had the power to raise prices to sponsors, cable

19

20
     86
        Industry-accepted databases are appropriate for analyzing relevant markets. See, e.g., United States v.
21   Bazaarvoice, Inc., 2014 WL 203966 at *32-33 (N.D. Cal. Jan. 8, 2014) (approving of expert’s use of a
     public list of retailers and data concerning same over the defendant’s reliability objections because the
22   list and data “are well-recognized by companies” involved in the market).
     87
23      Zuffa’s reliance on Golden Boy Promotions LLC v. Haymon, 2017 WL 460736 (C.D. Cal. Jan. 26,
     2017), SD at 32, is likewise misplaced. Unlike here where Zuffa has not identified any firms with
24   material market share that were excluded, the expert in Golden Boy sought to exclude all managers of
     “non-Championship caliber” boxers but failed to address undisputed facts showing that non-
25   Championship boxers could develop into champions. 2017 WL 460736, at *11-12. Here, conversely,
     Dr. Singer conservatively includes promoters of non-Championship caliber Fighters.
26   88
        See, e.g., U.S. Healthcare, Inc. v. Healthsource, Inc., 986 F.2d 589, 598 (1st Cir. 1993) (one must ask
27   “why we are [asking the question in the first place]: that is, what is the antitrust question in this case
     that market definition aims to answer?”).
28
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 1   networks, or cable distributors is not necessary for any claim or defense in this case. Zuffa does not

 2   argue otherwise.

 3               5.     Dr. Singer Uses Reliable Methods to Measure Zuffa’s Market Share.
 4           Dr. Singer reliably shows that Zuffa had a dominant share of the relevant input market. To

 5   determine market share, Dr. Singer weights each promoter by the amount of Event Revenues its pool of

 6   Fighters generated. SR1 ¶128; SR2 ¶128. 89 Dr. Singer determines that “

 7

 8                                     .” SR1 ¶129. Zuffa says that Dr. Singer’s use of “downstream [event]

 9   revenue” to weight promoters, SD at 33-34, unfairly inflates Zuffa’s share of the input market by

10   supposedly reflecting Zuffa’s success in generating revenues. Id. Zuffa contends that Dr. Singer should

11   have instead followed Dr. Zimbalist and measured the respective “importance” of Fighters primarily by

12   “weighting . . . according to their compensation.” SD at 34. But that is essentially what Dr. Singer does.

13   He could not use Fighter compensation here, however, because Zuffa pay was artificially low due to the

14   Scheme and, in any event, he did not have sufficient data to measure Fighter pay directly for non-Zuffa

15   promoters. But he did have Event Revenue data. 90 Given that Fighter pay would be roughly

16   proportional to Event Revenues across different promotions in a competitive market, weighting

17   promotions by Event Revenues would have a similar effect to weighting them by Fighter pay (as Zuffa

18   suggests). SR1 ¶¶128-29; SR2 ¶¶5, 8, 133-36. 91 None of Zuffa’s economists explains how weighting by

19

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     89
        Zuffa notes that Dr. Singer uses revenue weights to calculate “Foreclosure Share” as well as market
21   share, but Zuffa only challenges Dr. Singer’s use of revenue weights to calculate market share. See SD
     at 33-35. Similarly, while Zuffa says that Dr. Singer uses “a variety of weighting methods,” Zuffa
22   describes and challenges only one: revenue weights. See SD at 33-35. Thus, Zuffa has waived any
23   challenge to Dr. Singer’s use of rank-weighting in his Submarket market share analyses, or any of his
     rank or revenue weighting methods as part of his Foreclosure Share analyses. SR1 ¶182 (describing
24   weighting methods for Foreclosure analysis); SR2 ¶¶128-148 (same).
     90
        To be conservative, Dr. Singer assumes that small promoters (for whom no revenue data were
25   available) had the same revenue per Fighter as (relatively) large non-Zuffa promoters such as
     Strikeforce and Bellator. SR1 ¶128, n.350. Most likely, their revenue per Fighter was smaller.
26   91
        As Dr. Singer explains, Zuffa’s argument that it is “more successful at generating event revenues,”
27   SD at 33-34, “fails to explain how differences in event revenue across different MMA promoters could
     be the result of factors completely unrelated to Fighters.” SR2 ¶136.
28
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 1   Event Revenues—instead of Fighter compensation—could bias the results. 92

 2           In attempting to criticize Dr. Singer’s weighting method, Zuffa misapplies it. For instance, Zuffa

 3   claims Dr. Singer gives less weight to top-ranked Bellator Fighters than to low-ranked Zuffa Fighters.

 4   See SD at 34. But Dr. Singer does not “weight” individual Fighters; he weights each promotion’s pool

 5   of Fighters collectively. SR2 ¶¶134-35. He thus weights the average Zuffa Fighter substantially more

 6   than the average Bellator Fighter—an outcome neither Zuffa nor any of its economists contests.

 7   Weighting a promotion by the average pay of its Fighters—the method Zuffa favors, SD at 34—would

 8   produce the same result. In short, the appropriate undertaking is to weight a roster of Fighters by its

 9   collective importance to detect, as Zuffa puts it, “the concentration of the purchase of the input.” SD at

10   34. 93 That is what Dr. Singer does. 94 Zuffa’s criticism of Dr. Singer’s methodology thus depends on a

11   mischaracterization of it.

12
     92
13      Zuffa erroneously argues that Dr. Singer’s revenue weights do not answer the pertinent question:
     “what is Zuffa’s share of MMA athletes?” SD at 34-35. That is false. Zuffa mischaracterizes Dr.
14   Singer’s method. He appropriately weights promoters by evaluating the revenue-generating power of
     their respective pools of Fighters. That is the most appropriate way of determining Zuffa’s share of the
15   input market.
     93
16      Zuffa makes a similar error in arguing Dr. Singer’s revenue weighting is inappropriate because his
     impact regressions would, theoretically, weight the same athlete differently based on the promoter with
17   which the Fighter was affiliated. SD at 35. Zuffa again mischaracterizes Dr. Singer’s method as
     applying to individual Fighters; it collectively weights a promotion’s Fighter pool. SR2 ¶134. Zuffa also
18   incorrectly assumes that revenues stay static when Fighters switch promoters. Zuffa misses that a
     Fighter (or group of Fighters) moving to a new promoter could change its revenue-generating power.
19
     CD2, Ex. 60 (Singer Dep. 2) at 440:24-441:24 (explaining this point).
     94
20      Zuffa cites the Ninth Circuit’s decision in United States v. Syufy Enterprises, 903 F.2d 659 (9th Cir.
     1990), asserting, “There is no economically sound basis to use downstream revenue from viewers,
21   networks and sponsors to weight the shares of the input market.” SD at 34 (citing Syufy, 903 F.2d at
     666 n.10). But Syufy did not reject using downstream revenues, holding instead, “The district court was
22   entitled to rely on any of several indicia of Syufy’s market share, including . . . its percentage of gross
23   box office receipts.” 903 F.2d at 666 n.10. The Ninth Circuit did conclude using only downstream
     revenues to evaluate market power was not appropriate in that case because the connection between
24   downstream revenues and upstream market power was unclear. Id. Zuffa implies that MMA promotions
     are like the cinemas in Syufy who buy “first-run movies with no certainty regarding the movie’s likely
25   success.” SD at 34. But, here, there is no dispute that Fighter pay is proportional to Event Revenues,
     supra at 20-21 & n.42, and thus the latter can serve as a proxy for the former. Further, Dr. Singer’s
26
     method is consistent with that endorsed in United States v. Rice Growers Association of California,
27   1986 WL 12562, at *10-11 (E.D. Cal. Jan. 31, 1986). SD at 34. There, the expert assessed share of an
     input market using a revenue-weighting scheme based on the total dollar purchases of each rice buyer.
28
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 1              Finally, Zuffa’s lawyers—again without citing its economists—accuse Dr. Singer of “cherry-

 2   pick[ing] data” by using “PPV revenue and gate revenues, and not broadcast TV revenue” for

 3   promoters other than the UFC. SD at 35. 95 But Dr. Singer applies the same standard to all promoters,

 4   excluding the millions of dollars of UFC broadcast revenues and using revenue streams that are

 5   reported consistently over time for a range of promoters. SR1 ¶128, n.350; SR2 at II.F. Zuffa provides

 6   no reason to believe that this data choice biased the analysis. Moreover, Dr. Singer’s estimates are

 7   conservative because he assumes that small promoters have the same revenue per Fighter as (relatively)

 8   large non-Zuffa promoters. SR1 ¶128, n.350.

 9        VI.      ZUFFA’s DAUBERT ATTACKS ON DR. ZIMBALIST LACK MERIT
10              Dr. Zimbalist: (1) opines that Zuffa’s Scheme is anticompetitive; (2) contests any

11   procompetitive justifications for it; and (3) confirms the reasonableness of Dr. Singer’s analysis of Bout

12   Class damages. ZR1 at III, IV, V, VI; ZR2 at III, V, VI, VII, VIII. Zuffa challenges only his opinion on

13   damages. ZD at 1. First, it claims Dr. Zimbalist “invented a metric called ‘labor share’ (referred to

14   herein as the pay-to-revenue ratio, or ‘PTRR’).” ZD at 2, 18-19. But, as explained above, Zuffa’s

15   criticism of labor share—or Wage Share 96—is untenable and, indeed, Zuffa has in effect abandoned it.

16   Supra at V.A. So Dr. Zimbalist—like Dr. Singer—is right to use Wage Share.

17              Second, Zuffa’s lawyers repeat the sophistic argument they make against Dr. Singer: that in a

18   competitive market Zuffa would pay its Fighters up to their marginal revenue product (MRP), and MRP

19   cannot be measured, so Dr. Zimbalist’s yardsticks do not measure damages properly. ZD at 19-20. If

20   that position were right, there would be no way to calculate damages ever in a monopsony case. But it

21   isn’t. As already noted, economists and businesspeople routinely use Wage Share to assess the

22   difference between actual pay and MRP. Supra at V.A.1-2. Further, Dr. Zimbalist explains why his use

23   of Wage Share is appropriate here. ZR2 ¶¶35-37. Dr. Manning—whom both parties agree is

24

25   95
        Dr. Singer’s data analysis is nothing like the expert’s in SMS Systems Maintenance Services Inc. v.
     Digital Equipment Corp., 188 F.3d 11, 25 (1st Cir. 1999). SD at 35. In SMS, the expert found monopoly
26
     power based in part on his opinion of customer satisfaction without conducting a survey, citing sources
27   or data, or explaining why it was valid or representative. 188 F.3d at 25.
     96
        It is the ungainly term “PTRR” that Zuffa has invented. Plaintiffs use Wage Share instead.
28
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 1   “particularly authoritative”—also explains why use of Wage Share to estimate MRP is proper in this

 2   case. MR1 ¶¶5-6, 24-31. And Zuffa does not cite any of its economists in arguing about MRP and so

 3   provides no evidentiary support for its position. 97

 4           Zuffa also argues in various ways that Dr. Zimbalist selects yardsticks that are not sufficiently

 5   comparable to the UFC. Zuffa is wrong. His yardsticks have “as much in common as possible” with the

 6   UFC, and he controls for the remaining differences. CD2, Ex. 51 (Zimbalist Dep. 1) at 150:3-151:18;

 7   see ZR2 at VI. Further, Dr. Zimbalist offers five different sports as yardsticks. The similarity in the

 8   Wage Share they pay athletes—and the contrast with the UFC’s Wage Share—confirm the merits of the

 9   professional sports he uses as yardsticks:

10                                                          . CD, Ex. 10 (Zimbalist Errata) Table 4-E.

11           A.     Dr. Zimbalist’s Yardstick Method for Calculating Damages Is Reliable
12           The yardstick approach is “a reasonable and commonly-used formulaic approach to calculating

13   damages” that is “widely upheld by courts.” In re Live Concert Antitrust Litig., 247 F.R.D. 98, 145

14   (C.D. Cal. 2007) (citing cases, quotation and citations omitted). 98 Under a yardstick approach, the

15   amount of damages is “the difference between what the plaintiff could have made in a hypothetical free

16

17
     97
       Dr. Zimbalist’s rebuttal explains why Wage Share provides a reliable method for evaluating Zuffa’s
18   monopsony power over Fighters. ZR2 ¶¶28-51. Zuffa quotes selectively from Dr. Zimbalist’s
     deposition to claim he performed no “empirical” analysis to compare the ratio of MRP to revenue in
19
     MMA and his yardsticks. In fact, the record reflects that
20

21                       . ZR1 ¶¶127-138; ZR2 ¶37 (citing CD2, Ex. 59 (Blair Dep. 2) at 307:1-309:2, 309:6-
     311:22, 312:11-13, 313:4-24). In contrast, Zuffa points to no evidence that Dr. Zimbalist’s conclusion
22   is unreliable. Indeed, Dr. Blair admitted that he has no reason to believe that athletes in Dr. Zimbalist’s
23   yardstick sports generate a higher percentage of revenue than athletes in MMA. Id. at 315:1-8.
     98
        As Zuffa admits, use of a “yardstick” is an “accepted method to measure damages in an antitrust
24   case.” ZD at 4 (citing Muffett v. City of Yakima, 2012 WL 12827492, at *2 (E.D. Wash. July 20, 2012));
     ZR2 ¶53, n. 98 (Zuffa’s own economist, Dr. Blair, admitting yardstick is “recognized” approach for
25   calculating damages) (citing Blair Dep. 333:24-334:1). See also IIA Areeda, Hovenkamp, Blair,
     Durance, Antitrust Law, ¶399b, p. 445 (3d ed. 2007) (the yardstick approach is “considered. . . well-
26
     established and reliable”); In re Rubber Chems. Antitrust Litig., 232 F.R.D. 346, 354 (N.D. Cal. 2005)
27   (approving class certification where expert had shown classwide common proof of damages using
     yardstick approach).
28
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 1   economic market and what the plaintiff actually made in spite of the anticompetitive activities.” Image

 2   Tech., 125 F.3d at 1221 (quotation and citation omitted). All that is required is that the two have some

 3   “meaningful economic similarity.” Id. at 1222.

 4           Putting aside Wage Share, the main disagreement between Dr. Zimbalist and Zuffa is about how

 5   similar a yardstick—or comparator—needs to be. As Zuffa admits, Dr. Zimbalist’s approach is to

 6   identify other sports leagues that have as much as possible in common with the UFC. ZD at 4

 7   (“comparators that have as much in common with the base enterprise or industry as possible but vary in

 8   the important respect that you’re trying to identify”) (quoting CD2, Ex. 51 (Zimbalist Dep. 1) at 150:3-

 9   13, 151:13-18). That methodology satisfies Daubert. See Tawfilis v. Allergan, Inc., 2017 WL 3084275

10   at *6 (C.D. Cal. June 26, 2017) (“the yardstick market [should] be as comparable as possible”). 99

11   Zuffa, in contrast, asserts that a yardstick must be “similar in all respects other than the alleged antitrust

12   violation.” ZD at 6 (emphasis added). It quotes Prof. Hovenkamp’s Federal Antitrust Policy from a

13   passage that itself cites Bigelow. Id. (quoting Federal Antitrust Policy, ZD, Ex. 3 at 670). As noted

14   above, that Supreme Court case holds that a defendant cannot rely on the uncertainty it created in

15   violating the antitrust laws to avoid liability, so plaintiffs are permitted to do what is practicable in

16   proving damages, Bigelow, 327 U.S. at 265, a principle courts have reaffirmed time and again. See

17   supra V.D.1. Zuffa’s proposed approach—requiring a yardstick similar in every respect, other than the

18   antitrust violation, even if none exists, ZD at 8—is an impracticable one the Supreme Court and the

19   Ninth Circuit have rejected. See supra V.D.1.

20           B.      Dr. Zimbalist Selects Proper Yardsticks that Are Comparable to MMA
21           As far as Dr. Zimbalist’s implementation of his methodology, Zuffa paints a caricature and then

22

23   99
        The other cases Zuffa cites are inapposite. Neither Gen. Elec. Co. v. Joiner, 522 U.S. 136, 145-46
24   (1997), ZD at 15, 20, nor In re Silicone Gel Breast Implants Prod. Liab. Litig., 318 F. Supp. 2d 879,
     898 (C.D. Cal. 2004), ZD at 8, even involve the yardstick method, but rather address the extrapolation
25   of animal studies to human beings. In Joiner, the testimony was excluded because the expert relied on
     studies of mice exposed to massive concentrations of PCBs that were “so dissimilar to the facts
26
     presented” that they could not lead to the conclusion that minor PCB exposure caused plaintiffs’ cancer.
27   522 U.S. at 144-145. In Silicone Gel, an expert’s description of a study as containing “suggestive”
     evidence of an association between PUF-coated breast implants and cancer was not reliable where only
28   1.3% of the implants in the study were PUF-coated. 318 F. Supp. 2d at 898.
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 1   attacks it. Zuffa argues Dr. Zimbalist (a) uses a damages method with no standards, ZD at 5-8, (b) that

 2   the standard he purportedly uses (note Zuffa’s internal inconsistency), i.e., “as much in common as

 3   possible,” does not require anything in common, id. at 8-9, (c) that the yardsticks he chooses suffer

 4   from selection bias, id. at 9-10, and (d) that he chooses comparisons arbitrarily. Id. at 10-15.

 5   Unsurprisingly, none of that accurately describes what Dr. Zimbalist does. In reality, Dr. Zimbalist

 6   identifies the sports markets that are most similar to the UFC—ones Zuffa’s own consultants have used

 7   as comparators—and that do not suffer from as great a lack of competition as the UFC. As Dr.

 8   Zimbalist explains, with respect to the major league sports and boxing, each produces a similar product

 9   (live sporting events), with similar business models (maximize attendance and fan engagement), and

10   similar revenue sources (gate receipts, premium charges, media revenue, etc.). ZR2 ¶56. They all use

11   athletes as their primary input, and the popularity of the athletes drives demand for the sport and thus

12   revenues. Id. In addition, the yardsticks share other inputs, such as venues, officials, production, and

13   marketing. ZR1 ¶¶132-134.

14

15                                                                         . See ZR1 ¶107 (citing CD2, Ex. 66

16   (ZFL-1425511) at 11-12, 16-17; CD2, Ex. 64 (ZFL-1070290) at 327; CD2, Ex. 84 (ZUF-00113209) at

17   11).

18

19

20                ZR1 ¶108 (citing CD2, Ex. 62 (ZFL-0557588) at 91) (emphasis added).

21

22

23                                          ZR1 ¶108 (citing CD2, Ex. 62 (ZFL-0557588) at 95).

24                                                                                                            .

25   ZR1 at n. 225 (citing CD2, Ex. 62 (ZFL-0557588) at 92-93).

26                                                                                             ZR1 ¶108 (citing

27   CD2, Ex. 71 (WME_ZUFFA_00005368)). Dr. Zimbalist’s approach is thus grounded in the “market

28
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 1   facts” of this case. In re Online DVD Rental Antitrust Litig., 2011 WL 5883772, at *15.

 2            Dr. Zimbalist also explains why boxing is “structurally similar” to MMA, including the nature

 3   of the sport and the role and business model of promoters. ZR1 ¶¶89-90, 110. In contrast, Zuffa’s

 4   lawyers speculate about differences between boxing and MMA in a footnote, without citation or

 5   explanation of why those differences would matter. ZD at 11 n.6. In fact, the differences between MMA

 6   and boxing support boxing as a yardstick. For example, as Dr. Zimbalist explains, legislation limiting

 7   the enforceability of exclusive contracts in boxing makes it a good yardstick for gauging what the

 8   UFC’s Wage Share would be if not for Zuffa’s Scheme. ZR1 ¶¶101-103, 110; ZR2 ¶¶72, 110.

 9            For the above reasons, Dr. Zimbalist’s yardsticks do not suffer from “selection bias.” ZD at 9-

10   10. Zuffa suggests that Dr. Zimbalist did not do “a broad review of potentially comparable firms.” Id. at

11   4. That ignores that Dr. Zimbalist’s extensive experience in sports economics allows him to choose

12   yardsticks that are “as comparable as possible in all respects” to the MMA market except that they had

13   greater competition. Tawfilis, 2017 WL 3084275, at *6. Dr. Zimbalist does not pick his yardsticks

14   arbitrarily, but rather for good reason and rejects the other sports and industries Zuffa identifies, such as

15   Major League Soccer, ZR2 ¶78, the Association of Tennis Professionals, ZR2 ¶¶79-80, NASCAR,

16   CD2, Ex. 51 (Zimbalist Dep. 1) at 236:10-19, and the movies. ZR2 ¶¶81-82.

17

18

19

20            ZR2 ¶82. 100

21            Zuffa also implies erroneously that Dr. Zimbalist’s only reason for choosing his yardsticks was

22   that he was “familiar with them from his previous work,” suggesting, oddly, that Dr. Zimbalist should

23

24   100
         This case is thus distinguishable from (1) Manzen (ZD at 8, 10, 22), where the challenged expert
     based his analysis of plaintiff non-alcoholic beverage distributor’s lost sales due to contract breach on
25   informal interviews of a sample that contained almost exclusively distributors of only alcoholic
     beverages, and the expert was “unable to attest to the reliability of his own lost profit analysis,” R&R
26
     Int’l, Inc. v. Manzen, LLC, 2010 U.S. Dist. LEXIS 94550 (S.D. Fla. Sep. 12, 2010) at *15, 32-33, 35;
27   and (2) Allgood (ZD at 10), where the challenged expert cherry-picked only the most incriminating
     samples of contaminated soil and “failed to offer to offer any scientific justification for his sample
28   selection choices.” Allgood v. Gen. Motors Corp., 2006 WL 2669337, at *35 (S.D. Ind. Sept. 18, 2006).
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 1   have used less similar yardsticks from outside of sports. ZD at 4-5 (“So why didn’t you include any

 2   firms outside of sports that sell tickets and media rights?”) (quoting CD2, Ex. 51 (Zimbalist Dep. 1) at

 3   237:20-238:21) (emphasis added). As Dr. Zimbalist’s deposition testimony makes clear, that was only

 4   “one of the reasons” he chose his yardsticks. CD2, Ex. 51 (Zimbalist Dep. 1) at 237:20-238:16. The

 5   other reasons include that his yardsticks are in the sports industry and thus “ha[ve] the same basic

 6   revenue sources and the same nature of costs” as well as provide him “better access to the data [he]

 7   would need.” CD2, Ex. 51 (Zimbalist Dep. 1) at 238:17-240:3.

 8            Zuffa also identifies a few restrictive contractual provisions in Dr. Zimbalist’s yardsticks and

 9   claims he thus cannot use them to establish Zuffa’s Scheme caused the alleged damages. ZD at 11, 13.

10   Zuffa is wrong, first, because a few restrictive clauses in athlete contracts in Dr. Zimbalist’s yardstick

11   sports would make them understate damages. ZR2 ¶¶67-69. To the extent the restrictive clauses

12   hampered competition for athletes’ services, the yardsticks too reflect some degree of

13   undercompensation. Id. Second, the restraints in his yardstick sports are much less restrictive than

14   Zuffa’s Exclusive Contracts. In the team sports, for example, among other differences, 101

15

16                . ZR1 ¶77. Similarly, with respect to boxing, Zuffa cites

17                                     to argue that boxing promoters use all of the same contractual

18   provisions as Zuffa. ZD at 13.

19              , 102                                                                . Dr. Zimbalist’s boxing

20   yardstick reliably measures the harm from Zuffa’s Scheme because—as with team sports—there are

21   enough relatively unrestricted athletes for meaningful competition, as indicated by the at least

22
     101
23         For example,

24          . ZR1 ¶77.
     102
25

26

27

28
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 1   boxing promoters capable of holding major championship fights each year,

 2                                                                              . ZR1 ¶91. As one court

 3   observed, “Unlike other sports, such as football, baseball, and golf, boxing has not naturally evolved

 4   towards having a single entity controlling most or all of the professionally televised events in the

 5   sport.” Golden Boy, 2017 WL 460736, at *13. 103 And, as with the other yardsticks, restrictions on

 6   competition in boxing simply make it a conservative yardstick—understating damages.

 7            Finally, Zuffa’s questioning of the similarity between Dr. Zimbalist’s yardsticks and the UFC go

 8   to the weight of his testimony, not its admissibility. “Whether that ‘unaffected’ business properly

 9   compares to the relevant market presents a question of fact for the jury.” Image Tech., 125 F.3d at 1222;

10   see also In re Dynamic Random Access Memory Antitrust Litig., 2006 WL 1530166, at *9 (N.D. Cal.

11   June 5, 2006) (“Defendants’ challenge to plaintiffs’ evidence . . . goes to the merits of plaintiffs’ case,

12   and must therefore be left to the trier of fact.”); see also supra at 35 (citing cases denying Daubert

13   challenges to yardstick testimony).

14            C.     Dr. Zimbalist Controls for Differences between his Yardsticks and the UFC
15            As Zuffa concedes, a yardstick can have relevant differences, even if “it is important to take into

16   account any differences” between “the yardstick market and the market at issue in the but-for-world.”

17   ZD at 7 (citation omitted). Zuffa claims Dr. Zimbalist has “failed to control” for any differences

18   between his yardsticks and the UFC and that his methodology is “similar” to the one excluded in Live

19   Concert. ZD at 9. Untrue. In Live Concert, the expert failed “to account for differences in artist

20   quality/popularity” and instead simply compared absolute ticket prices between the defendants and

21

22   103
         In addition, the structure of boxing allows competition, unlike in MMA. The Muhammad Ali
23   Boxing Reform Act (“Ali Act”) makes a coercive contract provision “unenforceable against any boxer”
     to the extent it is “for a period greater than 12 months.” 2000 Enacted H.R. 1832, 106 Enacted H.R.
24   1832, 114 Stat. 321, §10(a)(1)(B). Indeed,

25                                                                                                ZD, Ex.
     11 (GBP000003) at 08-09. Further, the existence of independent sanctioning bodies that determine
26
     ranks and titles and implement rules governing mandatory challengers and purse bids allow matches
27   between championship-caliber boxers and existing top-ranked boxers and create real free agency. ZR1
     ¶103, n.216.
28
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 1   other promoters. In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966, 974-75 (C.D. Cal. 2012). In

 2   contrast, Dr. Zimbalist controls for relative differences in quality and popularity by using Wage Share,

 3   that is, by comparing the ratio of athlete compensation to Event Revenue. 104 As Dr. Zimbalist explains,

 4   “because demand for a sport is reflected in the revenue generated, one would expect the ratio of athlete

 5   compensation to revenue to reflect instead the competitive characteristics of the sport, controlling for

 6   any differences in demand or popularity.” ZR1 ¶106. 105

 7

 8   104
         Blue Cross & Blue Shield United of Wisc. v. Marshfield Clinic, 152 F.3d 588, 592–93 (7th Cir.
 9   1998), ZD at 9, is inapposite because the defendant there had obtained its large market share lawfully,
     “which might confer enough market power on it to enable it all by itself, without dividing markets with
10   its competitors, to charge a price somewhat above the average for the state.” Id. at 593. In contrast, here
     Plaintiffs show that Zuffa’s Exclusive Contracts are unlawful, and they allowed it to obtain its
11   monopsony power and cause Class damages.
     105
12       The other cases Zuffa cites, ZD at 8-9, 11, 13-14, are inapposite because they describe the standards
     of comparability required to use the yardstick measure for lost profits for a competing firm. See Eleven
13   Line, Inc. v. N. Tex. State Soccer Ass’n, Inc., 213 F.3d 198, 208 (5th Cir. 2000) (calculating lost “net
     revenue” by comparing to plaintiffs’ other businesses); Harris Wayside Furniture Co. v. Ideac Media
14   Corp., 2008 WL 7109357, at *2 (D.N.H. Dec. 22, 2008) (calculating plaintiffs’ lost profits based on
     median profitability of firms surveyed in National Home Furnishing Association 2007 Retail
15   Performance Report); see also Loeffel Steel Prods., Inc. v. Delta Brands, Inc., 387 F. Supp. 2d 794,
16   811–14 (N.D. Ill. 2005) (calculating plaintiffs’ “lost future profits or lost business”); El Aguila Food
     Prod., Inc. v. Gruma Corp., 131 F. App’x 450, 453–54 (5th Cir. 2005) (same); Muffett, 2012 WL
17   12827492, at *3 (calculating lost profits based only on revenue and expense numbers provided by
     plaintiff; applying “no yardstick” at all); Thermotek, Inc. v. Orthoflex, Inc., 2016 WL 4678888, at *12
18   (N.D. Tex. Sept. 7, 2016), aff’d sub nom., 875 F.3d 765 (5th Cir. 2017) (calculating lost profits). In
     each of these cases, the expert calculated an “absolute” number for lost profits without accounting for
19
     differences in the comparator group, including quality, size, location, customer base, and costs, among
20   other things. See, e.g., Eleven Line, 213 F.3d at 208; Harris, 2008 WL 7109357, at *2-3; Loeffel, 387 F.
     Supp. 2d at 813; El Aguila, 131 F. App’x at 453-54, ThermoTek, 2016 WL 4678888, at *12-13. Here,
21   as explained above, Dr. Zimbalist controls for differences by comparing Wage Share rather than
     absolute compensation. The purpose of Dr. Zimbalist’s yardstick analysis is not to measure the lost
22   profits of a competing firm, but to measure the proportion of revenue UFC fighters would have been
23   paid but for Zuffa’s Scheme. As Dr. Zimbalist explains, his yardsticks represent a conservative and
     thus reliable estimate of the UFC’s Wage Share without the Scheme as long as “the ratio of MRP of
24   labor to revenue is no higher in the yardsticks than in the UFC.” ZR2 ¶55. Dr. Blair admits that he does
     not have “[a]ny reason to believe that the . . . ratio of the marginal revenue product of labor to total
25   revenue in any of the yardstick sports is higher or lower than that ratio in MMA.” CD2, Ex. 59 (Blair
     Dep. 2) at 315:1-8. Because MRP is a function of the percentage of the event revenue that is
26
     attributable to the skills and attributes of the athletes, many factors identified by Zuffa such as
27   “geographic location,” “amounts charged per team,” and “the number of seasons run,” do not matter for
     comparability, although they might matter for assessing profitability in a lost profits damages model.
28
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 1          Zuffa’s attorneys speculate that alleged differences between the UFC and Dr. Zimbalist’s

 2   yardsticks could matter to his analysis. ZD at 11-13. But, again, Dr. Zimbalist controls for many of the

 3   variables Zuffa identifies, such as location, facility condition, and demand for the sport, ZD at 11, 13 &

 4   n.8, by comparing the ratio of compensation to revenue. For example, the NFL’s higher revenues than

 5   the UFC’s may explain why NFL players make more money in absolute terms, but, as Dr. Zimbalist

 6   shows empirically, it does not explain why NFL players receive a much higher share of revenue, as

 7   Wage Share is not positively correlated with revenue. ZR1 ¶118-19, Table 3. 106 Further, Dr. Zimbalist

 8   shows any alleged differences would not undermine his yardsticks. ZR2 ¶¶58-71. He finds that in

 9   MMA, athlete labor is the main input, while his yardstick sports involve additional input factors, so that

10   MMA fighters are responsible for at least as high a fraction of revenues. Id. ¶28. For example, he

11   explains that in baseball, beyond the athletes, fan appeal derives, inter alia, from the venue, umpires,

12   and amenities. Id. ¶37 (citing CD2, Ex. 59 (Blair Dep. 2) at 307:1-309:2). Similar inputs are used in the

13   NFL, NBA, and NHL. Id.

14          Zuffa also argues—again, without citing expert testimony or record evidence—that the “Big

15   Four” sports (MLB, NBA, NFL, NHL) are dissimilar from the UFC because they have “have been

16   around for decades.” ZD at 11. However, Zuffa offers no reason league age would affect athlete share

17   of revenue, and Dr. Zimbalist explains why it would not. ZR2 ¶59. 107 Zuffa also notes the structure of

18   team sports, suggesting there are 30-32 teams competing with each other for players. ZD at 11. But that

19   competition makes those sports leagues good yardsticks, indicating what the UFC’s Wage Share would

20   be with meaningful competition for talent from other MMA promoters. As Dr. Zimbalist explains,

21   “whenever a player was allowed to become a true free agent in one of the professional sports leagues,

22

23
     ZD at 11 (citing Eleven Line, 213 F.3d at 208). Zuffa similarly makes no showing that the other alleged
24   differences it identifies would affect Dr. Zimbalist’s analysis.
     106
         This analysis shows Zuffa’s claim that Dr. Zimbalist “performed no empirical analysis” is incorrect.
25   ZD at 14. He also evaluated the costs incurred by his yardsticks as compared to Zuffa and concluded
     any differences made his yardsticks conservative. ZR1 ¶¶129-138.
26   107
         Zuffa also cites an article in which Dr. Zimbalist describes the complexity required to calculate
27   comparable player shares of revenue across leagues but offers no reason to question the reliability of
     Dr. Zimbalist’s calculation here. ZD at 12 (citing ZD, Ex. 10). Indeed, if anything, Dr. Zimbalist’s
28   awareness of the complexities presumably made him more careful and his calculations more reliable.
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 1   there was a robust market available to bid on that player’s services and reveal the player’s true

 2   incremental value to the team that needed that player the most.” ZR1 ¶88. More generally, Dr.

 3   Zimbalist shows that any other differences between the UFC and his yardsticks make his analysis

 4   conservative, that is, that

 5   ZR2 ¶¶60-62. Finally, as noted above, Zuffa’s speculation—without any evidence—is insufficient

 6   under Daubert. See supra V.A.4.

 7            D.       Dr. Zimbalist’s Use of an Average Is Appropriate
 8            Zuffa complains that Dr. Zimbalist uses the average Wage Share of his five yardsticks to

 9   calculate damages. ZD at 15-16; see also id. at 3, n.3. But an average is superior to any individual

10   yardstick because it controls for variations between sports. ZR2 ¶70. And a reasonable estimate—not

11   perfect precision—is all that is required in calculating damages. See supra V.D.1. Some differences will

12   inevitably make an estimate imperfect, although the

13                 makes that result robust. Contrary to Zuffa’s assertion, the use of averaging does not in itself

14   undermine the reliability of a yardstick. See, e.g., Image Tech., 125 F.3d at 1221 (upholding award of

15   damages based in part on expert’s use of “averaged annual composite growth of the other ISOs’ non-

16   Kodak revenues” as a yardstick). 108 Indeed, even the cases Zuffa cites turn on the reliability of the data

17   that was averaged, not averaging itself. See, e.g., Eleven Line, 213 F.3d at 208 (rejecting yardstick

18   because expert provided no evidence that yardstick properties were of “reasonable similarity”); Everett

19   Fin., Inc. v. Primary Residential Mortg., Inc., 2016 U.S. Dist. LEXIS 181517, at *19 (N.D. Tex. Dec.

20   19, 2016) (same); CDW LLC v. NETech Corp., 2014 WL 272167 (S.D. Ind. Jan. 24, 2014) (same).

21   Moreover, even if the Court excludes any of Dr. Zimbalist yardsticks, his methodology allows him to

22   calculate damages using those that remain. ZR2 ¶70.

23            E.       Dr. Zimbalist’s Yardsticks Properly Measure the Damages Zuffa Caused
24            Zuffa claims that Dr. Zimbalist must not only measure the amount of the Bout Class damages—

25
     108
26       See also In re Live Concert Antitrust Litig., 2011 WL 13136259, at *2 (C.D. Cal. Jan. 4, 2011) (“the
     alleged ‘averaging’ techniques presented by Plaintiffs' expert [are] more a question of fact than law. As
27   the cases cited by both parties bear out, whether averaging is appropriate depends on the circumstances
     of the case”); In re Nexium (Esomeprazole) Antitrust Litig., 297 F.R.D. 168, 182 (D. Mass. 2013)
28   (expert “quite properly” employed a “‘yardstick’ approach, utilizing average measures”).
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 1   which he does—but also show that the Scheme caused injury. ZD at 16. But, as Zuffa admits, that is

 2   not his assignment. ZD at 1. Dr. Singer addresses causation and fact of damage. SR1 ¶¶178-192, 209-

 3   232. Dr. Zimbalist calculates the amount of damages. ZR1 ¶¶104-126. As a result, the cases Zuffa cites

 4   on fact of injury do not bear on Dr. Zimbalist’s analysis. See, e.g., Rebel Oil Co., 51 F.3d at 1433 (“To

 5   show antitrust injury, a plaintiff must prove that his loss flows from an anticompetitive aspect or effect

 6   of the defendant’s behavior”) (emphasis added). 109

 7            Dr. Singer shows that without Zuffa’s Scheme, it would have paid its Fighters a Wage Share at

 8   approximately competitive levels. Supra at 10. Dr. Zimbalist therefore appropriately measures damages

 9   by comparing Zuffa’s actual Wage Share to the Wage Share it would have paid in a more competitive

10   market. ZR1 ¶¶105-06. Zuffa complains that Dr. Zimbalist did not “evaluate the damages for different

11   types of conduct he identifies as included within the challenged conduct.” ZD at 16. But Dr. Zimbalist

12   has no need to do that. Again, he measures the amount of damages Zuffa caused by restricting

13   competition for Fighters’ services. Further, Plaintiffs need only show the harm caused by the Scheme as

14   a whole; they need not attribute portions of the damage to particular conduct. A case Zuffa itself cites,

15   In re Rail Freight, 2017 WL 5311533, at * 58, specifically rejects efforts, like Zuffa’s here, to force

16   plaintiffs to separate out the parts of a single Scheme. See id. at *56 (“The Supreme Court’s decision in

17   Comcast does not require separating the elements of plaintiffs’ theory of liability as defendants

18   implicitly do on remand. ‘[T]he character and effect of a conspiracy are not to be judged by

19   dismembering it and viewing its separate parts, but only by looking at it as a whole.’ Cont’l Ore Co. v.

20   Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962) (citation omitted).”) (alterations in original).

21

22   109
         Nor do the other cases Zuffa cites support its position. As discussed above, supra at 34, n.58:
23   Concord Boat Corp., 207 F.3d at 1055, ZD at 16, merely notes the district court had required plaintiffs
     to explain how the “‘but for’ market” would be different without the illegal conduct; it did not suggest
24   how specific the plaintiffs had to be. Similarly, Murphy Tugboat, 658 F.2d at 1262, ZD at 16, merely
     holds that economic rationality should be presumed, which Dr. Zimbalist does. In re Online DVD
25   Rental, 2011 WL 5883772, at *15, ZD at 16, involved summary judgment, not Daubert. Apple, Inc. v.
     Samsung Elecs. Co., 2012 WL 2571332 (N.D. Cal. June 30, 2012), ZD at 17, excluded the opinion of a
26
     defense expert in a patent infringement case where the expert apportioned damages in direct
27   contravention to the relevant patent laws. Williamson Oil Co. v. Philip Morris USA, 346 F.3d 1287,
     1322-23 (11th Cir. 2003), involved expert testimony on liability for collusion where the definition of
28   collusion used by the expert conflicted with controlling case law.
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 1   In any case, Dr. Zimbalist demonstrates that the Scheme “

 2                                                                                                      .” ZR1

 3   ¶¶10-22. He also explains how Zuffa’s contractual restrictions caused Wage Share suppression, just as

 4   did similar restrictions in his yardstick sports until they were eased and competition drove Wage Share

 5   up. Id. ¶¶25-71, 89-103.

 6            Zuffa identifies only one alleged alternative explanation for the difference in Wage Share

 7   between the UFC and Dr. Zimbalist’s yardsticks—unionization. ZD at 17. Once again, Zuffa does not

 8   cite expert testimony or other evidence. Further, as discussed above, all of the economic experts in this

 9   case agree that sports owners would be willing to pay athletes no more than their MRP, ZR2; CD2, Ex.

10   58 (Blair Dep. 1) at 177:13; TR1 ¶130—regardless of whether they arrive at that amount through labor

11   negotiations or otherwise. So Dr. Zimbalist’s yardsticks remain appropriate as a (conservative) measure

12   of Wage Share in a competitive market, even if the yardsticks involve unions. In addition, Dr. Zimbalist

13   explains that players’ unions in team sports do not negotiate collectively over player compensation, but

14   instead negotiate for rules that enhance competition in the labor market, such as free agency. ZR2

15   ¶63. 110 As Dr. Blair, admits, “the actual salaries that the players end up negotiating with their teams are

16   determined by market forces for free agents.” CD2, Ex. 58 (Blair Dep. 1) at 177:13-19. Dr. Blair also

17   agrees with empirical research showing that even with collective bargaining, free agents make less than

18   the competitive wage, and players who do not have free agency make substantially less, confirming

19   that Dr. Zimbalist’s yardsticks are conservative. Id. at 161:5-163:2. That makes sense because when

20   players unionize, they lose the right to sue under the antitrust laws, enabling owners to coordinate,

21   including through salary caps and other wage and mobility restrictions, so that athlete pay remains

22   somewhat below competitive levels. Finally, the “union” criticism does not apply at all to boxing,

23   which has no unions. ZR2 ¶65. 111

24

25   110
         Sebastian Int’l, Inc. v. Russolillo, 2005 WL 1323127 (C.D. Cal. Feb. 22, 2005), is not relevant, as it
     involved summary judgment against a claim under California law for intentional interference with
26
     contractual relations where the expert failed to distinguish between damages caused by the challenged
27   conduct and “other causes unrelated to the alleged wrong.” Id. at *7.
     111
         Zuffa argues that boxing alone cannot support Dr. Zimbalist’s damages analysis. ZD at 17 n.11. This
28
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 1          F.      Dr. Zimbalist’s Boxing Data Reliably Measures Wage Share in Boxing
 2          Zuffa claims Dr. Zimbalist does not reliably measure Wage Share in boxing for Golden Boy, a

 3   promoter, because he allegedly relies upon “opinions developed by another expert,” specifically an

 4   expert report by Gene Deetz in a separate lawsuit, without independent verification of the underlying

 5   expert’s work. ZD at 20 (emphasis added). However, Dr. Zimbalist did not rely on any opinions from

 6   the report, but only on the underlying data—which lists revenues and costs for each Golden Boy boxer

 7   from January 2014 to June 2016. ZR2 ¶83. Expert opinions that rely on other expert reports are

 8   admissible if the reports “are of a type reasonably relied upon by experts in the field in forming

 9   opinions.” Gray v. United States, 2007 U.S. Dist. LEXIS 17937, at *21 (S.D. Cal. Mar. 12, 2007)

10   (distinguishing Imperial Credit because plaintiff’s expert was qualified to evaluate third party expert

11   report and denying motion to exclude). 112 The data attached to the Deetz report list individual payments

12   to each boxer annually, allowing direct calculation of actual boxer compensation. CD2, Ex. 82 (Deetz

13   Report with attached data titled “Support to Exhibit 3”) at 3-12. Thus, unlike in Doan v. Astrue, 2010

14   WL 234935, at *4 (S.D. Cal. Jan. 12, 2010), Dr. Zimbalist did “independently verify” Deetz’s

15   calculation because he “viewed th[e] source and verified the data.” Id. 113

16

17   is wrong, as a single yardstick may suffice to determine damages. See, e.g., Tawfilis, 2017 WL
     3084275, at *8. Moreover, Dr. Zimbalist need not rely on boxing alone because the Wage Share in
18   boxing confirms that his other yardsticks assess the effect of competition for talent, not collective
     bargaining.
19   112
          See also Scott v. Ross, 140 F.3d 1275, 1286 (9th Cir. 1998) (expert’s “citations to his extensive
20   studies and to his collaboration with other academics as the basis for his opinions suffice to merit
     admission of his testimony”); United States v. Brown, 299 F.3d 1252, 1257 (11th Cir. 2002) (same)
21   (quoting CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 455 (3d
     ed. 2000)).
22   113
          Zuffa criticizes Dr. Zimbalist’s reliance on the Deetz data, ZD at 26, but that data was produced in
23   litigation and Zuffa suggests no reason to question its accuracy. And in fact, Dr. Zimbalist verified the
     data by                                                                  . ZR2 ¶¶85-86. Doan v. Astrue,
24   2010 WL 234935, at *4 (S.D. Cal. Jan. 12, 2010), is also inapposite. There the expert relied on data
     from a newspaper article, not a primary source, and there was no record that the expert “ever viewed
25   this source and verified the data.” Id. Here Dr. Zimbalist viewed the underlying data and confirmed
     Deetz’s calculation of Wage Share was accurate. Zuffa’s reliance on In re Imperial Credit Indus. Sec.
26
     Litig., 252 F. Supp. 2d 1005, 1012 (C.D. Cal. 2003), is also misplaced. It held that the expert there—an
27   accountant with no experience in residual valuation—could not merely rely on a report by a third-party
     residual valuation expert. Here, Dr. Zimbalist has spent decades analyzing sports data and is an
28
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 1           Zuffa offers competing data it claims are more reliable than Dr. Zimbalist’s, and asserts that his

 2   sole basis for preferring his own data is that the “numbers . . . are larger.” ZD at 21. Untrue. Dr.

 3   Zimbalist’s rejects Zuffa’s data because they are obviously flawed. The detailed fighter-by-fighter data

 4   attached to the Deetz report show, for example, that one fighter alone, Saul Alvarez, earned $13.3

 5   million in purses in 2016, while Zuffa’s “data”

 6                                        . ZR2 ¶84. That egregious discrepancy confirms the data on which

 7   Zuffa relies are incomplete. In fact, they are not data at all,

 8                      , ZD, Ex. 12, GBP000001, ZD, Ex. 13, GBP000002, and Dr. Blair admitted

 9                                                                                                                   .

10   See CD2, Ex. 59 (Blair Dep. 2) at 321:25-322:10. Zuffa’s only basis for preferring that incomplete data

11   is that they were “produced in this case.” ZD at 21.

12           Zuffa also criticizes Dr. Zimbalist for basing his boxing yardstick on only a single promoter,

13   Golden Boy, and claims that Dr. Zimbalist has “offered no evidence to suggest that Golden Boy is

14   representative of . . . other boxing promoters, or the boxing industry.” ZD at 22. Zuffa is mistaken. In

15   Dr. Zimbalist’s rebuttal, he includes additional data from boxing promoter Top Rank, Inc. and

16   calculates the average Wage Share including both Golden Boy and Top Rank                        ZR2 ¶¶85-86,

17   Table 1,                                                          . He also relies on deposition testimony

18   from Bob Arum, a well-established boxing promoter, that

19                              . Id. ¶¶85, 88; CD2, Ex. 53 (Arum Dep.) at 89:15-92:2. Again, that makes Dr.

20   Zimbalist’s damages calculation conservative.

21       VII.    CONCLUSION
22           For the foregoing reasons, Zuffa’s Daubert motions challenging the testimony of Drs. Singer

23   and Zimbalist should be denied.

24

25

26

27   acknowledged expert in the field. Finally, Tokio Marine & Fire Ins. Co. v. Norforlk & W. Ry. Co., 1999
     WL 12931, at *4 (4th Cir. Jan. 14, 1999), ZD at 21, is inapposite because Dr. Zimbalist is not testifying
28   on Mr. Deetz’s conclusions, but just using his data.
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 1   Dated: April 6, 2018                         Respectfully Submitted,

 2                                                By: /s/ Eric L. Cramer
                                                          Eric L. Cramer
 3

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        PLAINTIFFS’ CONSOLIDATED BRIEF IN OPPOSITION TO DEFENDANT ZUFFA, LLC’S MOTION TO EXCLUDE THE
                     TESTIMONY OF DRS. HAL SINGER AND ANDREW ZIMBALIST (ECF NOS. 522, 524)
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 1                                       CERTIFICATE OF SERVICE

 2         I hereby certify that on this 6th day of April, 2018 a true and correct copy of PLAINTIFFS’
 3   CONSOLIDATED BRIEF IN OPPOSITION TO DEFENDANT ZUFFA, LLC’S MOTION TO
     EXCLUDE THE TESTIMONY OF DRS. HAL SINGER AND ANDREW ZIMBALIST (ECF
 4   NOS. 522, 524) and supporting papers was served via email on all parties or persons requiring notice.

 5
                                          /s/ Eric L. Cramer
 6                                        Eric L. Cramer
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